Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 1 of 42 Page ID #:6




                    EXHIBIT A


                                                             Exh A - pg 3
                  Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 2 of 42 Page ID #:7
                                                                              19STCV29927
                                                                                                         Carter, Executive OfffcerfCler* of Court, by M. Barel, Deputy Clerk
.ironically FILED by Superior Court of California, County of Los Mgeles on 08/23/2019 01:44 PM Sherri R.



                                                                                                                                                                   SUIVMOO
                                                                                                                                         FOR COURT USE ONLY
                                                 SUMMONS                                                                         fSOLOPARA USOOELA CORTE)

                                            (CITACION JUDICIAL)
       NOTICE TO DEFENDANT:
       (AVISO AL DEMANDADO);
       REGENTS OF THE UNIVERSITY OF CALIFORNIA, a government entity; UCLA MEDICAL
       CENTER MEDICAL STAFF; DEBORAH KRAKOW, M.D., an individual; DEREK KANG, an
       individual; and DOES ) THROUGH 50, inclusive,


       YOU ARE BEING SUED BY PLAINTIFF:
       (LO ESTA DEMANDANDO EL DEMANDANTE):

        STEVE YU, M.D., an individual, and AISLING MURPHY, M.D., an
        individual,

                                                                                                                 within 30 days. Read the information
        NOTICE! You have been sued. The court may decide agalnsl you without your being heard unless you respond
        below.
                                                                                                                     at this court and have a copy
          You have 30 CALENDAR DAYS after this summons and legal papers are served on you to file a written response
                                                                                                                                        want the court to hear your
        served on the plaintiff. A tetter or phone call will no! protect you. Your written response must be In proper legal form If you
                                                                                                                                         at Ihe California Courts
        case. There may be a court form that you can use for your response. You can find these court forms and more Information
                                                                                                                                             pay the filing fee, ask
        Online Self-Help Center (wvav, court/pfo. ca. gav/salfhutp) , your county law library, or the courthouse nearest you. If you cannot
                                                                                                                                          money, and property
        the court clerk for a fee waiver form. Ifyou.do nol file your response on time, you may lose the case by default, and your wages,
        may. be taken wllhoul further warning from the court.
                                                                                                                                   wantto.call anatlomey
            There are other legal requirements. You may want to call an attorney right away, tfyoudo not know an attorney, you may
        referrai sendee. If you cannot afford an attorney, you may be eligible for free legal services (rom a nonprofil legal services program. You can locale
        Ihese nonprofit groups at ihe California Legal Services Web site (mvw.tawhelpcatlfomia.org), the California Couris Online Self-Hetp Center
                                                                                                                           a statutory lien for waived fees and
        (WYAV.courtinio.ca.gov/SBlihelp), or by contacting your local court or county bar association. NOTE; The court has
                                                                                                                                            dismiss the case.
        costs on any settlement or arbitration award of §10,000 or more In a civil case. The court's Hen must be paid before the court will
                                                                                                                                       Information a
        IAVISOI Lo ban demandBdo. SI no responde dentm de 30 dlas, la carte puede decldlr en su contra sin escuchar su versidn. Lea la
        conlinuscidn.
                                                                                                                                porescrito en esta
           Tiene 30 DlAS DE CALENDARIO despuis da qua la entreguen esta citacldn y papeles (egaies para presenter una respuesta
                                                                                                                                          tiene qua estar
        code y hacer que se entregue una copla al demandants. Una carta o una llamada telefdnica no to protegen. Su respuesfa por escrito
                                                                                                                                    su respuesta
        en formato legal comedo stdesea que procesen su caso en la corte. E$ posible que haya un formularjo que ustedpueda usarpara
                                                                                                                                                v), en la
        Puede enconlrarestos formularies de la corte y mis informacidn en el Centre o'e Ayuda de las Cortes de California jVAVw.sucorte.ca.go
        biblioteca da ieyes de su condado  o en la code que te quede mis  cerga. Si no puede pagar la cuota de presentation, plda al secretaire  de la code
                                                                                                                                                 y fa code te
        que le di un forniuiario de exencldn de pago de cuotas. Si no presents su respuesta a tiempo, puede perderel cbso porfncump/Mento
        podri quitar su sueldo, dlnero ybienes sin mis advertencia.
          Hay btros requisites legates. Es recomendable que llame a un abogado Inmediatamente. SI no conoce aun abogado, puede llamar a un serviclode
                                                                                                                                                    de un
        remisidn a abogados. Si no puede pagar a unabogado, es posible que cumpla con las mquisitos para obtenerserv/cios legates gratuitos
                                                                                                                                              Services,
        programs de sotvltios legates sin fines de lucro. Puede enconfrar esfos gropes sin fines da lucro en el sitio web de California Legal
                                                                                                                                               la corte o el
        (Www.l8wheipcatifornla.ofg), en el Centro de Ayuda de las Cortes de California, (Www.sucorte.ca.gov/ oponfendose en contacto con
                                                                                                                                                     sobre
        colegio de abogados locales. AVISO; Por ley, la corte tiene derecho a reclamar las cuotas y los cosios exentos por Imponer un gravamen
                                                                                                                                                      Tiene que
        cualquier recuperation de $10,000 6 mis de valor reciblda mediants On acuerdo o una concesldn de arbitraje en Un caso da derecho civil.
        pagar el gravamen de la corte antes de que la corte pueda desechar el caso.
                                                                                                                    CASE NUMBER:
       The name and address of the court Is:                                                                        (NOmsro del Cesol:

       (El nombre y direccidn de la corte es):                                                                           1 9STCY29927
        Stanley Mosk Courthouse
        111 N. Hill Street, Los Angeles, CA90012
       The name, address, and telephone number of plaintiffs attorney, or plaintiff without an attorney, Is:
       (El nombre la direction y el nOmero de telifono del abogado del demandants, o del demandante que no tiene abogado, es):
        Henry R. Fenton - 1 990 S Bundy Dr #777, Los Angeles, CA 90025 (310) 444-52 44
                                                                                    ' "
                                                                               Sherri R. Carter Executive Officer / Clerk of Court
                                                                                                                                Deputy
       DATE:                                                                        Clerk, by         Marita P. Barel          (Adjunto)
       (Fecha)                08/23/2019                                                (Secretario)

       (For proof of service of this summons, use Proof of Service of Summons (form POS-010).)
       (Para prueba de entrega de esta citatidn use el formularlo Proof of Service of Summons, (POS-010)).
                                               NOTICE TO THE PERSON SERVED: You are served
         (SEAL]
                                              1. |>Q as an individual defendant
                                              2. |  1 as the person sued under the fictitious name of (specify):


                                               3, 1      1 on behalf of (specify):
                                                      under: CH3 CCP 416.10 (corporation)                            |     1   CCP 416.60 (minor)

            W                        m                      [
                                                            |
                                                                 |
                                                                 |
                                                                     CCP 416.20 (defunct corporation)
                                                                     CCP 416.40 (association or partnership) |
                                                                                                                     |     j
                                                                                                                           )
                                                                                                                               CCP 416.70 (conservatee)
                                                                                                                               CCP 416.90 (authorized person)

                                                            I    I other (specify):
                                               A. lyl by personal delivery on (dafe):                                                                                   paotl oM

                                                                                                                                              Code olClvtJ Procedure §§ 412.20, 465
         Fomi Adopted lor Mandolo/y Use                                          SUMMONS                                                                      mm.couiiMo.cB.gov
           Judicial Council of California
          SUM-100 [Rev July 1,2009)




                                                                                                                                                 Exh A - pg 4
                    Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 3 of 42 Page ID #:8
                                                                                 19STCV29927
                                                                                                           Patricia Nieto
                                  Assigned for ail purposes (o: Stanley Mosk Courthouse, Judicial Officer:
                                                                                                                                                                      Deputy Clerk
                                                                                            01:44 PM Sherri R. Carter, Executive Officer/Clerk of Court, by M. Barel,
Electronically FILE!   by Superior Court of California, County of Los Angeles on 08/23/2019




                         Henry R. Fenton, State Bar No. 45130
                1
                         Summer A. Main, State Bar No. 3 17697
               2         FENTON LAW GROUP, LLP
                         1 990 S . Bundy Drive, Ste. 777     .
                3        Los Angeles, CA 90025
                         Telephone: 310-444-5244
                4        Facsimile:         310-444-5280

                5
                         Attorneys for Plaintiffs

                6        Steve Yu, M.D.
                         Aisling Murphy, M.D.
                7

                8                                   SUPERIOR COURT FOR THE STATE OF CALIFORNIA

                9                                                           COUNTY OF LOS ANGELES

               10                                                                                    CASE NO.
                          STEVE YU, M.D., an individual, and
                         AISLING MURPHY, M.D., an
              11
                         individual,                                                                 COMPLAINT FOR:

               12
                                                       Plaintiffs,                                   (1) VIOLATION OF HEALTH & SAFETY
               13                                                                                    CODE § 1278,5;

                                     vs.
               14                                                                                     (2) LOSS OF CONSORTIUM;

               15         REGENTS OF THE UNIVERSITY OF                                                (3) VIOLATION OF 42 U.S. CODE § 1983:
                          CALIFORNIA, a government entity;
                                                                                                      U.S.C.A. CONST. AMEND. I, RIGHT TO
               16         UCLA MEDICAL CENTER MEDICAL
                                                                                                      FREE SPEECH;
                          STAFF; DEBORAH KRAKOW, M.D., an
               17         individual; DEREK KANG, an individual;
                          and DOES 1 THROUGH 50, inclusive,                                           (4) VIOLATION OF CALIFORNIA CIVIL
                18                                                                                    CODE § 52.1: INTERFERENCE WITH
                                                                                                      FIRST AMENDMENT RIGHT TO FREE
                19                                      Defendants.
                                                                                                      SPEECH (CA CONST ART. 1, § 2, AND
                                                                                                      U.S.C.A. CONST. AMEND. I) BY THREAT,
               20
                                                                                                      INTIMIDATION OR COERCION; AND
                21
                                                                                                      (S) INTENTIONAL INFLICTION OF
                22                                                                                    EMOTIONAL DISTRESS

                23

                24

                25

                26

                27

                 28
  FENTON LAW
                                                                                                       1
   GROUP LLP
                                                                                 COMPLAINT FOR DAMAGES
                                                                                                                                                Exh A - pg 5
                  Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 4 of 42 Page ID #:9




                                                                                        Aisling Murphy, M.D.
             3               Plaintiffs Steve Yu, M.D. ("Plaintiff Yu" or "Dr. Yu") and

                                                                                          as "Plaintiffs"), file this
             2        ("Plaintiff Murphy" or "Dr. Murphy," collectively referenced herein
                                                                                     sity of California, UCLA
             3        Complaint for Damages against Defendants Regents of The Univer
                                                                                      and Does 1 Through 50,
             4        Medical Center Medical Staff, Deborah Krakow, M.D., Derek Kang,

             5        Inclusive:

             6                                                  THE PARTIES

                                                                                                      licensed to
             7                1.     Plaintiff Dr. Yu is a well-respected physician and surgeon, duly

                                                                                     October 08, 2008.
             8        practice medicine in the State of California since on or about
                                                                                                    , duly licensed to
             9                2.     Plaintiff Dr. Murphy is a well-respected physician and surgeon

                                                                                     April 16, 2008.
             10       practice medicine in the State of California since on or about
                                                                                                    information and belief
             11               3.      Plaintiffs are informed and believe, and on the basis of such

                                                                                            nts") is a public entity.
             12       allege, that Defendant Regents of The University of California ("Rege
                                                                                                   exempt from
             13               4.      Per California Government Code § 905.6, Defendant Regents is

             14       provisions found in the Government Claims Act.
                                                                                                            tion and belief
             15               5.      Plaintiffs are informed and believe, and on the basis of such informa
                                                                                              Reagan UCLA Medical
             16        allege, that the University of California Los Angeles ("UCLA"), Ronald
                                                                                   ant, Regents.
             17        Center, and UCLA Health are all subsumed entities of Defend
                                                                                                            tion and belief
             18                6.     Plaintiffs are informed and believe, and on the basis of such informa
                                                                                            is an unincorporated entity
             19        allege, that the UCLA Medical Center Medical Staff ("Medical Staff")
                                                                                            and California Code of
             20        formed pursuant to Business and Professions Code §§ 2282 and 2282.5,
                                                                                        of Los Angeles. The Medical
             21        Regulations, title 22, §§ 70701 and 70703, located in the County
                                                                                            of the Medical Staff.
             22        Staff is responsible for, among other duties, evaluating the members

             23        (Business and Professions Code §§ 805 etseq.)
                                                                                                             tion and belief
              24               7.      Plaintiffs are informed and believe, and on the basis of such informa
                                                                                         ual, is Chair of the
              25       allege, Defendant Deborah Krakow, M.D. ("Dr. Krakow"), an individ
                                                                                      Medical Center, and,
              26        Department of Obstetrics and Gynecology at Ronald Reagan UCLA
                                                                                          Defendant Regents.
                 27     therefore, is an officer, director, managing agent or employee of

                 28
                                                                         -2-
FENTON LAW
GROUP LLP                                                  COMPLAINT FOR DAMAGES
                                                                                                       Exh A - pg 6
              Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 5 of 42 Page ID #:10




                                                                                                                 and belief
             1              8.         Plaintiffs are informed and believe, and on the basis of such information

             2    allege, Defendant Derek Kang ("Derek Kang" or "Mr. Kang"), an individual, is Chief
                                                                                                Medical
             3    Compliance Officer in the Office of Compliance Services at Ronald Reagan UCLA
                                                                                                          t Regents.
             4    Center, and, therefore, is an officer, director, managing agent or employee of Defendan
                                                                                                                   are
             5              9.         Defendant Does 1 through 50, inclusive, are other persons and entities that

                                                                                                            at
             6    responsible in some measure for the actions complained of herein. Their names are unknown
                                                                                                                  true
             7    this time and they are therefore being sued under their fictitious names. At such time as their

             8    names are ascertained, this petition will be amended to so reflect.
                                                                                                                      is
              9             10.        Plaintiff is informed and believes and accordingly alleges that each Defendant

                                                                                                           this
             10   an agent and employee of each and every Defendant and, in performing the acts alleged in
                                                                                                                 is
             11   complaint, was acting in the course and scope of said agency and employment. Plaintiff further
                                                                                             s of each Defendant
             12   informed and believes and accordingly alleges that the agents and employee

                                                                                                          each
             13   were acting within the purpose and scope of said agency and employment and on behalf of
                                                                                                              of the
             14   other and each of the Defendants ratified and approved the acts of the other Defendants and

             15   agents and employees of the various Defendants.
             16                                           GENERAL ALLEGATIONS
                  a. Background
             17
                             11.       Dr. Yu received his medical degree in 2004 from St. George's University School
             18
                  of Medicine.
             19
                             12.        Post-medical school, Dr. Yu completed an internship and medical residency with
             20
                                                                                                        gy.
                   Albany Medical Center and Case Western Reserve University in obstetrics and gynecolo
             21
                             13.        Dr. Yu is Board Certified by the American Board of Obstetrics and Gynecology in
             22
                   obstetrics and gynecology.
             23
                                 14.    Dr. Yu has been employed by UCLA since 2012.
             24
                                 15.    Dr. Yu is currently an Associate Professor in UCLA's Department of Obstetrics
             25
                                                                                                     Medical
                   and Gynecology, is an active OB/GYN physician and surgeon, and is a member of the
             26
                   Staff.
             27

             28
                                                                         -3-
FENTON LAW
GROUP LLP
                                                            COMPLAINT FOR DAMAGES
                                                                                                     Exh A - pg 7
                 Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 6 of 42 Page ID #:11




                                                                                                              s more
             1              16.       Dr. Yu specializes in minimally invasive surgery. He currently complete

             2 | MIS cases than any other surgeons in his Department.
                                                                                                         by his
             3              17.       From the outset of his time working at UCLA, Dr. Yu was well-liked

                                                                                                       engages in
             4      colleagues and patients. Dr. Yu regularly received excellent evaluations, actively
                                                                                                      hed until the
             5      significant research in his field, and his employment with UCLA has been unblemis

             6      instant events.
                                                                                                            of
             7              18.       Dr. Murphy received her medical degree in 2002 from the Royal College

              8     Surgeons in Ireland.

                                                                                                                   in
              9             19.       Post-medical school, Dr. Murphy completed an internship at Beaumont Hospital
                                                                                                    gy at Albany
             10     Dublin, Ireland, subsequently completing a residency in obstetrics and gynecolo

             11     Medical Center and Case Western Medical Center.

             12             20.       Dr. Murphy was a Fellow in Maternal Fetal Medicine ("MFM") with UCLA from

             13     2008-2011.

             14             21.       Dr. Murphy is Board Certified by the American Board of Obstetrics and
                                                                                                l fetal medicine.
             15     Gynecology in both obstetrics and gynecology and the sub-specialty, materna

             16             22.        Dr. Murphy has been employed by UCLA since 2008 and has held multiple titles.

             17             23.       Dr. Murphy is currently an Assistant Clinical Professor in UCLA's Division of
                                                                                                   OB/GYN and
             18     Maternal Fetal Medicine, Department of Obstetrics and Gynecology, is an active

             19      MFM physician and surgeon, and is a member of the Medical Staff.

             20              24.       From the outset of her time working at UCLA, Dr. Murphy was well-liked by her
                                                                                                            bestowed
             21      colleagues and patients. Dr. Murphy regularly received excellent evaluations, has been
                                                                                                      Dr. Yu, her
             22      multiple awards, has completed well-regarded research in her field, and, as with

             23      esteemed and lengthy career has been unblemished until the instant events.
                                                                                                                      es at
             24              25.       Dr. Yu and Dr. Murphy are married. This fact is known to all of their colleagu

             25      UCLA.

              26

              27

              28
                                                                        -4-
FENTON LAW
GROUP LLP                                                  COMPLAINT FOR DAMAGES
                                                                                                    Exh A - pg 8
                 Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 7 of 42 Page ID #:12




             1      b. Dr. Koos' Case
                                                                                                            Murphy, Dr.
             2             26,        Dr. Koos is a colleague of Plaintiffs Dr, Yu and Dr. Murphy. Like Dr.

                                                                                                 l-Fetal Medicine
             3      Koos is also a member of the Department of Obstetrics and Gynecology Materna
                                                                                              Staff.
             4      Division at Ronald Reagan-UCLA Medical Center and a member of the Medical

             5             27.        Dr. Koos and Dr. Murphy have completed research together and have worked
                                                                                                    Murphy in
             6      closely for more than a decade. Dr. Koos attended the wedding of Dr. Yu and Dr.

             7      Ireland.

              8                28.    In April 201 8, Dr. Koos became aware of an infant who suffered a severe brain
                                                                                                this patient safety
             9      injury during birth at Ronald Reagan UCLA Medical Center. Dr. Koos reported

             10     issue, and advocated for case review to determine how the injury occurred.
                                                                                                                 the
             11                29.    Dr. Koos, in his capacity as Vice Chair of the OB/GYN Department, accessed
                                                                                                    State and Federal
             12     patient's records to complete a root-cause analysis, as is permitted under both

             13     law, and is required by the Joint Commission accrediting agency.

             14                30.    Dr. Koos was retaliated against by UCLA and was disciplined for accessing the

             15     records to determine the cause of the injury.
                                                                                                                    §
             16                31.    Dr. Koos sued the Regents (UCLA) for retaliation under Health and Safety Code
                                                                                                        No.
             17      1278.5, as he was disciplined as a result of his advocacy for patient safety (Case

             18      18STCV00470).

             19      c. Retaliation

             20                32.     Dr. Koos requested a peer review hearing with the Medical Staff to review the

             21      recommended discipline. The hearing began in January 2019.
                                                                                                                    a
             22                 33.    On or about February 21, 2019, Dr. Murphy testified on behalf of Dr. Koos at

             23      peer review hearing session.
                                                                                                                  to
             24                 34.    Subsequent to Dr. Murphy's testimony, Dr. Yu (Dr. Murphy's husband), began
                                                                                                       and Mr.
             25      experience discriminatory treatment by agents of UCLA, specifically by Dr. Krakow
                                                                                                          was
             26      Kang, among others. This was in direct retaliation for Dr. Murphy's testimony, which
                                                                                                   her husband Dr.
              27     favorable for Dr. Koos. Defendants retaliated against Dr. Murphy by attacking

              28
                                                                       -5-
FENTON LAW
GROUP LLP                                                  COMPLAINT FOR DAMAGES
                                                                                                   Exh A - pg 9
                 Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 8 of 42 Page ID #:13




                                                                                              y pursuant to various anti-
             1        Yu, instead of Drt Murphy directly, in an effort to circumvent liabilit
             2        retaliation statutes.
                                                                                         office be moved from the
             3                35.     After Dr. Murphy's testimony, Dr. Yu requested his

                                                                                   Santa Monica location. Dr. Yu
             4        UCLA Westwood office location, to an open office at the UCLA
                                                                                      er, Dr. Krakow closed this office
             5        was initially hired to work at the Santa Monica location. Howev
                                                                                 Santa Monica for him. This never
             6        and assured Dr. Yu that she would find another location in
                                                                                         ood. Dr. Krakow made a
             7        happened. Instead he was obliged to relocate to an office in Westw
                                                                             a location re-opened and there was an
             8        verbal agreement with Dr. Yu that when the Santa Monic
                                                                                   a.
             9        open office, Dr. Yu would be transferred back to Santa Monic
                                                                                                       Monica location
            10                 36.     In the spring of 2019, an opening became available at the Santa
                                                                                      location per his agreement with
             i1       and Dr. Yu requested to be transferred back to the Santa Monica

             12       Dr. Krakow.
                                                                                                     denied by leadership
             13                37.     Dr. Yu's request to transfer to the Santa Monica location was

                                                                              was informed by Department
             14        of the Department of Obstetrics and Gynecology. Dr. Yu
                                                                                   the Santa Monica location
             15        leadership, in front of other employees, that physicians at
                                                                                 ed of what the "complaints" were,
             16        "complained" about Dr. Yu. However, Dr. Yu was not inform
                                                                                            " Further, leadership alleged
             17        or who at the Santa Monica location lodged the illusive "complaints.
                                                                                          Murphy, would be a compliance
             18        that potentially being in the same office space with his wife, Dr.
                                                                                         e Dr. Yu was further justified due to
             19        issue. Lastly, leadership stated that their reluctance to relocat

             20        his ongoing investigated by the Office of Compliance.
                                                                                                        staff at the Santa
             21                 38.     For clarity, Dr. Yu maintains a collegial relationship with the

             22         Monica location and has trained a fair majority of them.
                                                                                                   this time to another
              23                39.      Since Dr. Murphy's testimony, Dr. Yu was moved yet again,
                                                                                           changed by Defendants and/or
              24        office in Westwood. Dr. Yu's office schedule has been arbitrarily
                                                                                           also resulted in a pay cut. This
                 25     their agents/employees to a new, less favorable schedule. This has
                                                                                       d employees.
                 26     change has not been applied equally to other similarly situate

                 27

                 28
                                                                          -6-
FENTON LAW
GROUP LLP                                                    COMPLAINT FOR DAMAGES
                                                                                                     Exh A - pg 10
                 Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 9 of 42 Page ID #:14




                                                                                                 e has been
             1             40.     Since Dr. Murphy's testimony, Dr. Yu's operating room schedul

                                                                                               to treat his patients
             2      changed by Defendants and/or their agents/employees, hindering his ability
                                                                                                  equally to other
             3      and has had a negative impact on his income. This change has not been applied

             4      similarly situated employees.
                                                                                                    an
             5             41.     On or about May 2019, UCLA's Office of Compliance Services began
                                                                                             billing. Dr. Yu met
             6      unprompted audit and investigation regarding Dr. Yu's record-keeping and
                                                                                        ab (Physician
             7      with Melissa Guevarra (Physician Compliance Manager) and May Cayaby
                                                                                           Dr. Yu to alter his
             8      Compliance Auditor and Trainor) in the Office of Compliance, who asked
                                                                                              the Office of
             9      record-keeping practices, which Dr. Yu did in good faith. The agents from
                                                                                              review the changes
             10     Compliance and Dr. Yu made a verbal agreement to meet again in 1 month to

             11     to Dr. Yu's record-keeping. This follow-up meeting did not occur.
                                                                                                       Krakow
             12             42.    Instead of the follow-up meeting with the Office of Compliance, Dr.
                                                                                             Compliance Officer,
             13     called Dr, Yu into her office. Dr, Yu was advised that Derek Kang, Chief
                                                                                               "frozen" by the Office of
             14     had placed a freeze on his billing. Dr. Yu's billing, i.e. his income, was
                                                                                        no ability to respond.
             15     Compliance Services, along with Dr. Krakow, with no explanation and
                                                                                                               Yu's
             16             43.     Beginning in July 2019, and through the date of the instant Complaint, Dr.

             17      billing remains frozen by Defendants.
                                                                                                             as a
             18             44.     Dr. Murphy and Dr. Yu are informed and believe, and thereon allege, that
                                                                                               l Staff investigation and
             19      direct result of Dr. Murphy's cooperation and participation in the Medica
                                                                                         and the Medical Staff, and
             20      the parallel administrative peer review proceeding between Dr. Koos

                                                                                             the administrative peer
             21      for Dr. Murphy exercising her right to free speech via her testimony at
                                                                                    via the discriminatory,
             22      review hearing for Dr. Koos, Dr. Murphy was retaliated against

                                                                                     Dr. Yu, as noted supra.
             23      threatening, and coercive conduct directed towards her husband,

                                                                                                            which has
             24              45.    Dr. Murphy and Dr. Yu have been retaliated against in a variety of ways
                                                                                       fs' professional reputation, as
             25      caused, and continues to cause, monetary harm, damage to Plaintif

                                                                                   Plaintiffs.
              26     well as mental anguish and extreme emotional distress to both

              27

              28
                                                                      -7-
FENTON LAW
GROUP LLP                                                COMPLAINT FOR DAMAGES
                                                                                                 Exh A - pg 11
             Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 10 of 42 Page ID #:15




                                                                                                    Defendants for
             1               46.     For reference, in addition to Dr. Koos' active lawsuit against

                                                                                           ent at UCLA, also has an
             2        retaliation, Dr. Carla Janzen, another physician in the same Departm
                                                                                            to those noted supra (Case
             3        active lawsuit against Defendants for behaviors substantially similar

             4        No. 19STCV24B40).
                                                                                                      a relatively small
             5               47.     In relation to other similarly situated health systems, UCLA has

                                                                                             Plaintiffs, currently four
             6        Obstetrics and Gynecology Department. With the addition of the instant
                                                                                         or similar causes of
             7        senior OB/GYN and MFM physicians are suing Defendants for the same
                                                                                               s, including Defendants
             8        action arising out of the same operative facts, all with similar concern
                                                                                           ans' patient safety reports,
             9        propensity to abuse their positions of authority, quiet UCLA physici
                                                                                                  of Dr Krakow, who
             10       and quell their physicians' free speech. This all occurred under the tenure
                                                                                            in 201 8
             11       was appointed as Chair of the Department of Obstetrics and Gynecology

             12               48.

                                                                                                         ive employers.
             13               49.     None of the aforementioned physicians have ever sued their respect

             14                                             CAUSES OF ACTION

             15                                               FIRST CAUSE
                                           For Violation of Health and Safety Code Section 1278.5
             16
                                                           Against All Defendants

                                                                                                                contained
                                      Plaintiffs re-allege and incorporate by reference each of the allegations
             17
                               50.
             18
                       supra as set forth herein.

                                       As discussed above, in February 2019, Dr. Murphy participated in the
             19
                               51.
             20                                                                                 to Dr. Koos' access of
                       investigation and administrative proceeding of the Medical Staff related
             21                                                                              of Dr. Koos.
                       patient records for a patient safety purpose. She testified on behalf
                                                                                                           that as a
                                       Dr. Murphy and Dr. Yu are informed and believe, and thereon allege,
             22
                               52.
             23                                                                                    trative proceeding of an
                       direct result of Dr. Muiphy's participation in an investigation and adminis
             24                                                                                      d against when her
                       entity responsible for evaluating the Medical Staff, Dr. Murphy was retaliate
              25                                                                              move was denied. This
                       husband's billing was frozen, his schedule was changed, and his office
                 26                                                                            Yu and Dr. Murphy are
                        directly affected Dr. Murphy, both emotionally and financially, as Dr.
                 27
                        married and have a joint income.
                 28
                                                                         -8-
FENTON LAW
GROUP LLP
                                                           COMPLAINT FOR DAMAGES
                                                                                                   Exh A - pg 12
             Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 11 of 42 Page ID #:16




                                                                                                 and declares that
             1            53.     Health & Safety Code § 1278.5 provides: "The Legislature finds

                                                                                                     members of the
             2     it is the public policy of the State of California to encourage patients, nurses,
                                                                                                          d unsafe
             3     medical staff, and other health care workers to notify government entities of suspecte
                                                                                                      protect patients
             4     patient care and conditions. The Legislature encourages this reporting in order to
                                                                                                   ensuring that
             5     and in order to assist those accreditation and government entities charged with
                                                                                                        ns apply
             6     health care is safe. The Legislature finds and declares that whistleblower protectio
                                                                                                            not intended
             7     primarily to issues relating to the care, services, and conditions of a facility and are
                                                                                                     e and employer
              8    to conflict with existing provisions in state and federal law relating to employe

              9    relations."
                                                                                                            facility
             10            54.     Subsection (b)(1)(B) of Health & Safety Code § 1278.5 prohibits a health

                                                                                              medical staff for
             11    from discriminating or retaliating, in any manner, against a member of the
                                                                                               ing related to the
             12    participating and cooperating in an investigation or administrative proceed
                                                                                                     evaluating the
             13    quality of care at the facility, that is carried out by an entity responsible for
                                                                                                and cooperated in an
             14    Medical Staff of the facility. Here, as noted supra, Dr. Murphy participated
                                                                                                on or about February
             15    investigation and administrative proceeding as directed by the Medical Staff

             16    21, 2019. (See 133.).
                                                                                                              Code
             17            55.     Thus, Dr. Murphy has engaged in protected activities under Health & Safety

             18     § 1278.5.

                                                                                                              natory
             19            56.     Subsection (b)(1)(B) of Health & Safety Code § 3278,5 states that discrimi
                                                                                                       or any unfavorable
             20     treatment ". . . includes, but is not limited to, discharge, demotion, suspension,
                                                                                                              s of the
             21     changes in, or breach of, the terms or conditions of a contract, employment, or privilege
                                                                                                  health care facility,
             22     employee, member of the medical staff, or any other health care worker of the

             23     or the threat of any of these actions." (Emphasis added).

             24             57.     Plaintiffs Dr. Murphy and Dr. Yu have been subjected to (1) retaliation and, (2)
                                                                                                       ntioned
             25     discriminatory treatment, as a direct result of Dr. Murphy engaging in the aforeme

              26    protected activities.

              27

              28
                                                                       -9-
FENTON LAW
GROUP LLP                                                COMPLAINT FOR DAMAGES
                                                                                                  Exh A - pg 13
             Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 12 of 42 Page ID #:17




                                                                                              thereon allege, that the
             1                 58.        Dr. Murphy and Dr. Yu are informed and believe, and

                                                                                  that resulted in retaliatory and
             2        aforementioned conduct of the Defendants, and each of them,
                                                                                   done in bad faith, and,
             3        discriminatory conduct directed at Dr. Murphy and Dr. Yu was
                                                                                           on of the Defendants to cause
             4        furthermore, was willful, malicious and carried out with the intenti
                                                                                   subjected Plaintiffs to unjust hardship
             5        Plaintiffs' injury, and that it was despicable conduct which
                                                                                          exemplary or punitive damages
             6        in conscious disregard of their rights so as to justify an award of
                                                                                          ted by the Court in light of
             7        in an amount according to proof, or such other remedy deemed warran
                                                                                    were especially malicious as the
             8        the egregious circumstances of this case. Defendants' actions
                                                                                   t to avoid liability for retaliation
             9        discriminatory conduct directed at Dr. Yu was a clear attemp
                                                                             nia statute and, furthermore, caused
             10       truly aimed at Dr. Murphy, as designated under Califor

                                                                                        turn had the potential of
             11       significant emotional distress of two active physicians, which in
                                                                                     campuses.
             12       adversely affecting innocent patients across multiple clinics/

                                                                                                       Plaintiffs have also
             13                    59.    As a proximate result of the wrongful conduct of Defendants,
                                                                                 and emotional distress, shame
             14       suffered substantial mental injury, anxiety, worry, mental
                                                                                  damages in an amount to be proven
             15       modification and hurt feelings, economic damages, and other

             16        at trial.

             17                                                     SECOND CAUSE
                                                                  Loss of Consortium
             18
                                                                 Against All Defendants

                                                                                                                 ions contained
                                           Plaintiffs re-allege and incorporate by reference each of the allegat
             19
                                   60.
             20
                       supra as set forth herein.
                                                                                                      ful acts, Plaintiffs
                                           As a direct and proximate consequence of Defendants' unlaw
             21
                                   61 .
             22                                                                       l and emotional distress, shame
                       have suffered substantial mental injury, anxiety, worry, menta
             23                                                                    damages.
                       modification and hurt feelings, economic damages, and other
              24                                                                                           s suffered by
                                    62.    As a direct and proximate result of the afore-mentioned injurie
              25                                                                         been deprived, continues to be
                        Plaintiff Dr. Murphy's spouse, Dr. Yu , Plaintiff Dr. Murphy has
                 26                                                                       's companionship, affection, love,
                        deprived, and expects to be deprived in the future, of her spouse
                 27                                                                      the family home and comfort for a
                        sexual relations, conjugal fellowship, assistance in maintaining
                 28
                                                                             -10-
FENTON LAW
GROUP LLP                                                       COMPLAINT FOR DAMAGES
                                                                                                        Exh A - pg 14
             Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 13 of 42 Page ID #:18




                                                                                             es to cause, and in the
             1        non-determinable length of time, which deprivation has caused, continu
                                                                                         nal distress, loss of earning
             2        future is expected to cause Plaintiff to suffer depression, emotio
                                                                                               of which has not yet been
             3        capacity, past, present, and future, and other injuries, the full extent

             4        ascertained, but which will be stated according to proof at trial.
                                                                                                       t of defendants, and
             5                63.     As a further direct and proximate result of the aforesaid conduc

                                                                                             love, society, comfort and
             6        each of them, Plaintiff Dr. Murphy has sustained a loss of consortium,
                                                                                         ed pecuniary loss in a some
             7        affection with respect to Plaintiff Dr. Yu and has thereby sustain
                                                                                                 ing to proof at trial.
             8        within the jurisdictional limits of the Court, which will be stated accord
                                                                                                       suffered by
             9                64.     As a direct and proximate result of the afore-mentioned injuries

                                                                                              d, continues to be
             10       Plaintiff Dr. Yu's spouse, Dr. Murphy, Plaintiff Dr. Yuhas been deprive
                                                                                                nionship, affection, love,
             11       deprived, and expects to be deprived in the future, of his spouse's compa
                                                                                       the family home and comfort for a
             12       sexual relations, conjugal fellowship, assistance in maintaining
                                                                                             es to cause, and in the
             13       non-determinable length of time, which deprivation has caused, continu
                                                                                         nal distress, loss of earning
             14       future is expected to cause Plaintiff to suffer depression, emotio

                                                                                                of which has not yet been
             1^        capacity, past, present, and future, and other injuries, the full extent

             16        ascertained, but which will be stated according to proof at trial.
                                                                                                           Defendants,
             17                65 .    Asa further direct and proximate result of the aforesaid conduct of
                                                                                              love, society, comfort and
             18        and each of them, Plaintiff Dr. Yu has sustained a loss of consortium,
                                                                                      sustained pecuniary loss in a some
             19        affection with respect to Plaintiff Dr. Murphy and has thereby
                                                                                    stated according to proof at trial.
             20        within the jurisdictional limits of the Court, which will be

             21                                                   THIRD CAUSE
                                                    For Violation of 42 U.S. Code § 1983:
             22
                                                U.S.C.A. Const. Amend. I, Right to Free Speech
                                                           Against All Defendants
             23
                                                                                                             ions contained
              24               66.     Plaintiffs re-allege and incorporate by reference each of the allegat

              25        supra as set forth herein.


                 26             67.     Defendants, and their employees/agents, are state actors.

                 27

                 28
                                                                          -11-
FENTON LAW
GROUP LLP                                                    COMPLAINT FOR DAMAGES
                                                                                                      Exh A - pg 15
             Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 14 of 42 Page ID #:19




                                                                                                   ffs' First Amendment
             1                 68.        Defendants, and their employees/agents, violated Plainti

                                                                                  ing truthfully at the Medical Staff peer
             2        rights to free speech by "punishing" Dr. Murphy for testify
                                                                                As a consequence of Dr. Murphy
             3        review administrative hearing of her colleague, Dr. Koos.
                                                                                   States and California Constitutions,
             4        exercising her First Amendment rights pursuant to the United
                                                                                husband, Dr. Yu, without
             5        Defendants harassed, abused, and intimidated Dr. Murphy's
                                                                                  altering his work schedule and
             6        provocation by Dr. Yu, by, among other actions, arbitrarily
                                                                                      t, defaming Dr. Yu in front of his
             7        operating room time, declining his valid office transfer reques

             8        colleagues, and withholding his income.
                                                                                                         e measure for Dr.
             9                 69.        Said retaliatory acts of Defendants were intended as a punitiv
                                                                                             Dr. Murphy from future
             1^       Murphy exercising her constitutional rights, and as an effort to deter

             11       exercise of her constitutional rights.
                                                                                                    to deprive Plaintiffs of
             12                    70.    These unlawful actions were done with the specific intent

             13       their constitutional rights.
                                                                                                        acts, Plaintiffs
             14                    71.    As a direct and proximate consequence of Defendants' unlawful
                                                                                     mental and emotional distress, shame
             15        have also suffered substantial mental injury, anxiety, worry,

                                                                                   damages in an amount to be proven
             16        modification and hurt feelings, economic damages, and other

             17        at trial.

             18                                                   FOURTH CAUSE
                                                     For Violation of California Civil Code § 52,1;
             19
                                                        Interference with Right to Free Speech
             20                                 (CA Const. Art. 1, § 2, AND U.S.C.A. Const. Amend. I)
                                                          By Threat, Intimidation or Coercion
             21                                                 Against AH Defendants

                                                                                                                 ions contained
             22                     72.    Plaintiffs re-allege and incorporate by reference each of the allegat

              23       supra as set forth herein.
                                                                                                        coercion, via the
              24                    73.     Defendants' agents and employees have used intimidation and
                                                                                     t Dr. Yu, to interfere with both
              25        conduct noted herein, specifically the acts described agains

                 26     Plaintiffs' rights to free speech.

                 27

                 28
                                                                            -12-
FENTON LAW
GROUP LLP                                                       COMPLAINT FOR DAMAGES
                                                                                                       Exh A - pg 16
             Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 15 of 42 Page ID #:20




             1                74.    Plaintiffs5 right to free speech are secured by the Constitution of the United States,

             2    the Constitution of the State of California, and the statutory laws of the State of California.

             3                75.    As a direct and proximate consequence of Defendants' unlawful acts, Plaintiffs

             4    have suffered substantial mental injury, anxiety, worry, mental and emotional distress, shame

             5    modification and hurt feelings, economic damages, and other damages in an amount to be proven

             6    at trial.

             7                76.    Plaintiffs are entitled to an injunction pursuant to California Civil Code §52. 1 .

              8               77.    Plaintiffs are also entitled to damages pursuant to Civil Code §§ 52 and 52. 1 .

              9
                                                               FIFTH CAUSE
                                                 Intentional Infliction of Emotional Distress
             10
                                                           Against All Defendants
             11
                              78.     Plaintiffs reallege and incorporate by reference as set forth fully herein the
             12
                  allegations of all foregoing paragraphs.
             13
                              79.     Plaintiffs assert that Defendants' knowing and willful conduct, as outlined supra,
             14
                  constitutes extreme and outrageous behavior.
             15
                              80.     Plaintiffs are informed and believe that Defendants had the intention to cause
             16
                  Plaintiffs' emotional distress, or, at the very least, reckless disregard for the probability of causing
             17
                  Plaintiffs' emotional distress.
             18
                              81.     As a result, Plaintiffs have suffered severe, constant, and ongoing emotional
             19
                   distress.
             20
                               82.    Plaintiffs are informed and believe that Defendants' conduct is the actual and
             21
                   proximate cause of their emotional distress.
             22
                                                            PRAYER FOR RELIEF

             23
                               WHEREFORE, Plaintiffs pray for judgment as follows with respect to all causes of action
             24
                   as follows:
             25
                        1.     For injunctive relief;
             26
                        2.     For damages according to proof;
             27
                        3.     For punitive damages;
             28
                                                                        -13-
FENTON LAW
GROUP LLP
                                                           COMPLAINT FOR DAMAGES
                                                                                                    Exh A - pg 17
              Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 16 of 42 Page ID #:21




              1        4.   For the legal rate of interest from the date the damages accrued;

              2        5.   For costs of this action;

              3        6.   For such other and further relief as this court deems just and proper.

              4
              5     DATED; August 23, 2019                  FENTON LAW GROUP LLP


              6
                                                            By
              7
                                                                 Henry%^Tenton
               8                                                 Summer A. Main
                                                                 Attorneys for Plaintiffs
               9                                                 STEVE YU, M.D. & AISLING MURPHY, M.D.

              10

              11

              12

              13

              14

              15

              16

              17

              18

              19

              20

              21

              22

              23

              24

              25

              26

              27

               28
                                                                      -14-
FEN TON LAW
GROUP LLP
                                                         COMPLAINT FOR DAMAGES
                                                                                                 Exh A - pg 18
                                Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 17 of 42 Page ID #:22
                                                                                     19STCV29927                                                        by M. Barel, Deputy Clerk
        .                                                                                           Sherri R. Carter, Executive Officer/Clerk of Court,
„                                                    , County of Los Angeles on 08/23/2019 01:44 PM
Electronically FILED by Superior Court of California
                                                                                                                                                                                                       CM-010
                                                                                                                                                                      FOR COURT USB ONLY
                                                      Sta^Barnumbet. andaddiessj;
         ATTORNEY jQR PARTY WITHOUT AKORNEY (A'ornjj,


           S»mme};A                           Esq. f SlaL Bar No, 317697)
           FENTON LAW GROUP, LLP
           1990 S Bnndy Drive, Suite 777, Los Angeles, CA 90025
                         TELEPHONE NO :       (310) 444-5244          fax no,: (310) 444-5280
          ATTORNEY FDR (Name).                Steve Yu, M.D., Aisling Murphy, M.D.
                                                    AngeleS
        SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS
                        street address: j ]] N. Hill Street
                 mailing address: 111 N. Hill Street
                city and zip code: Los Angeles, CA 90003
                           BRANCH NAME        Stanley Mosk Courthouse
           CASE NAME:
                                                                                         al,
           Yut et al,                    vs. Regents of The University of California, et
                                                                                                                                                       CASS NUMBER:

                        CIVIL CASE COVER SHEET                                                   Complex Case Designation

         i / 1 Unlimited                         (     i Limited                           1     } Counter            I   1 Joinder
                          (Amount                         (Amount                                                                                      JUDGE:

                                                          demanded is                      Filed with first appearance by defendant
                          demanded                                                                       DEPT:
                                     $25,000 or less)
                          exceeds $25,000)                     (Cai. Rules of Court, rule 3,402)
                                                                                   instruct ions on page 2).
                                         Items 1-6 be/ow must be completed (see
                                                             describes this case:
         1 , Check one box below for the case type that best
                                                         Contract                                Provisionally Complex Civil Litigation
                Auto Tort                                                                                                               (Cal. Rules of Court, rules 3.400-3.403)
                                                                                   I           I Breach of contract/warranty (06)
                Z3 Auto (22)                                                       I           I Rule 3.740 collections (09)            i        I Antitrust/Trade regulation (03)
                           I Uninsured motorist (46)
                                                                                   i           j Other collections (09)                 }        { Construction defect (10)
             Other PI/PD/WD (Personal Injury/Property
                                                                                   I           ) Insurance coverage (18)                I        I Mass tort (40)
             Damage/Wrongful Death) Tort
                            I Asbestos (04)                                        I            I Other contract (37)                   I        I Securities litigation (26)
                I
                I          I Product liability (24)                                Real Property
                                                                                                                                        I        I Environmental/Toxic tort (30) •
                I          1 Medical malpractice (45)                              [            I Eminent domain/Inverse                I        I Insurance coverage claims arising from the
                                                                                                  condemnation (14)                                    above listed provisionally complex case
                I           1 Other PI/PD/WD (23)                                                                                                      types (41)
                                                                                       [        I Wrongful eviction (33)
                    Non-PWPD/WD (Other) Tort                                                                                                Enforcement of Judgment
                                                                                       I        i Other real property (26)
                    1—1 Business tort/unfair business practice (07)                                                                         I    I Enforcement of judgment (20)
                                                                                       Unlawful Detainer
                    GZ] Civil rights (08)
                                                                                       I        i Commercial (31 )                          Miscellaneous Civil Complaint
                    i       1 Defamation (13)
                                                                                                  Residential (32)                                 RICO (27)
                                 Fraud (16)
                                                                                                  Drugs (38)                                I    I Other complaint (not specified above) (42)
                    I       ) Intellectual property (19)
                                                                                       Judicial Review                                      Miscellaneous Civil Petition
                    I          j Professional negligence (25)
                                 Other non-PI/PD/WD tort (35)                              . . I Asset forfeiture (05)                      |I   Ii Partnership and corporate governance (21)
                                                                                               I Petition re: arbitration award (1 1)        [    [:   Other petition (not specified above) (43)
                        Employment
                        (   I Wrongful termination (36)                                        j Writ of mandate (02)
                        I / S Other employment (15)                                             I Other judicial review (39)
                                                                                                                                                    is complex, mark the
           2. This case I                      I is      I / I is not        complex under rule 3.400 of the California Rules of Court, if the case
                        factors requiring exceptional judicial management:
                                                                                                               d. [       I Large number of witnesses
                        a. i      I Large number of separately represented parties
                        b. I      I Extensive motion practice raising difficult or novel                       e. f~ 1 Coordination with related actions pending in one or more courts
                                                                                                                                                                                    court
                                                                                                                           in other counties, states, or countries, or in a federal
                                     issues that will be time-consuming to resolve
                                                                                                               f. I       1 Substantial postjudgment judicial supervision
                         c. I     l Substantial amount of documentary evidence
                                                                                                             b.i / 1 nonmonetary; declaratory or injunctive relief                            c. ( / 1 punitive
           3. Remedies sought (check all that apply): a. I / 1 monetary
           4. Number of causes of action (specify): 7
           5. This case 1 " 1 is                          I / I is not       a class action suit
                                                                                notice of related case. (You may use form CM-015.)
           6.            If there are any known related cases, file and serve a

           Oaie: 08/23/19
           Summer A. Main, Esq.
                                                      (TYPE OR PRINT NAME)
                                                                                                                                   '^^i^ATWEOF                            ATTORNEY FOR PARTY)"
                                                                                          NOTICE
                                                                                                                                                  or cases filed
                                                                                filed in the action or proceeding (except small claims cases
                    • Plaintiff must file this cover sheet with the first paper                          (Cal. Rules of Court, rule 3.220.) Failure to file may result
                                                                                    institutio ns Code),
                      under the Probate Code, Family Code, or Welfare and
                      in sanctions.
                                                                                    by local court rule,
                    • File this cover sheet in addition to any cover sheet required                                                                  on all
                                                                                       ia Rules of Court, you must serve a copy of this cover sheet
                    • If this case is complex under rule 3.400 et seq. of the Californ
                      other parties to the action or proceeding.                                                                         al purposes onj£ ^ ^ ^
                                                                             a complex case, this cover sheet will be used for statistic
                    • Unless this is a coiiections case under rule 3.740 or
                                                                                                                                                                                                                    3.740;
                                                                                                                                                             Cal. Rules of Court, rules 2 30, 3 220, 3.400-3.403,
            fonr, Adopted to' Mandalofy Use                                                    CIVIL CASE COVER SHEET                                                Cal. Standards of Judicial Atitnttvsito'.un. S!6-3'D
                                                                                                                                                                                                   mvw.cojrtinfa ca gov
              J%K3ica| Council of California
                        CM-010 (Rev July 1,2007]

                                                                                                                                                                             Exh A - pg 19
            Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 18 of 42 Page ID #:23


                                                                                                                                                    CM-010
                                                                         THE COVER SHEET
                                         INSTRUCTIONS ON HOW TO COMPLETE
                                                                                                          e, a complaint) in a civil case, you must
                                             ,                if you are filing a first paper (for exampl
To Plaintiffs and Others Filing First Papers                                                                  tion will be used to compile
                                                          Case Cover Sheet contained on page 1 , This informa
complete and file, along with your first paper, the Civil                    items 1 through 6 on the sheet, In item 1, you
                                                                                                                               must check
                                                filed, You must complete
statistics about the types and numbers of cases                                              a more specific type of case listed in item 1,
                                               the case. If the case fits both a general and
one box for the case type that best. describes                                                            s the primary cause of action.
                                                       causes of action, check the box that best indicate
check the more specific one. if the case has multiple                                                      in item 1 are- provided below, A cover
                                                es of the cases (hat belong under each case type
To assist you in completing the sheet, exampl                                                      paper filed  in a civil case may subject a party,
                                                  Failure to file a cover sheet with the     first
sheet must be filed only with your initial paper.                                             Court.
                                                   and  3.220   of the Californ ia Rules  of
its counsel, or both to sanctions under rules 2.30
                                                                                                              as an action for recovery of money
                                                   A "collections case" under rule 3.740 is defined
To Parties in Rule 3.740 Collections Cases.                                                      and attorne y's  fees, arising from a transaction in
                                                more than $25,000, exclusive       of interest
owed in a sum stated to be certain that is not                                                                         seeking the following: {1 ) tort
                                                       credit. A collections case does not include an action
which property, services, or money was acquired on                                                         y, or (5) a prejudgment writ of
                                                   of real property, (4) recovery of personal propert
damages, (2) punitive damages, (3) recovery                                                  means   that it will be exempt from the general
                                                 rule 3.740 collections case on this form
attachment. The identification of a case as a                                        files a respon sive  pleading. A rule 3.740 collections
                                                         rules, unless  a defenda nt
time-for-service requirements and case management
                                                     and obtaining a judgment in rule 3.740,
case will be subject to the requirements for service                                                                                    r the
                                                                                            the Civil Case Cover Sheet to designate whethe
To Parties in Complex Cases.                   In complex cases only, parties must also use
                                                     complex under rule 3.400 of the Californ          ia Rules of Court, this must be indicated by
case is complex. If a plaintiff believes the case is                                                                 sheet must be served with the
                        riate boxes  in items 1 and 2. If a plaintiff designates a case as complex, the cover
completing the approp                                                                                        its first appearance a joinder In the
                                                               file and serve no later than the time of
complaint on all parties to the action. A defendant may                       x, or, if the plaintiff has made   no  designation, a designation that
                                                         case   is not comple
plaintiffs designation, a counter-designation that the
the case is complex.                                                  CASE TYPES AND EXAMPLES
                                                                                                               Provisionally Complex Civil Litigation (Ca!.
                                                           Contract
Auto Tort                                                                                                      Rules of Court Rules 3.400-3.403)
                                                               Breach of Contract/Warranty (06)
    Auto (22)-Personal Injury/Property                                                                               Antitrust/Trade Regulation (03)
                                                                   Breach of Rental/Lease
        Damage/Wrongful Death                                                                                        Construction Defect (10)
                                                                       Contract (not unlawful detainer
        Uninsured Motorist (46) (if the                                                                              Claims Involving Mass Tort (40)
                                                                             or wrongful eviction)
            case involves an uninsured                                                                               Securities Litigation (28)
                                                                   Contract/Warranty Breach-Seller
            motorist claim subject to                                                                                Environmental/Toxic Tort (30)
                                                                         Plaintiff (not fraud or negligence)
            arbitration; check this item                                                                             insurance Coverage Claims
                                                                   Negligent Breach of Contract/
            instead of Auto)                                                                                            (arising from provisionally complex
                                                                      Warranty
                                                                                                                        case type listed above) (41)
 Other PI/PD/WD (Personal Injury/                                  Other Breach of Contract/Warranty
 Property Damage/Wrongful Death)                                                                                 Enforcement of Judgment
                                                               Collections (e.g., money owed, open
 Tort                                                                                                                Enforcement of Judgmenl (20)
                                                                   book accounts) (09)
        Asbestos (04)                                                                                                    Abstract of Judgmenl (Out of
                                                                   Collection Case-Seller Plaintiff                           County)
           Asbestos Property Damage                                Other Promissory Note/Collections
           Asbestos Personal Injury/                                                                                      Confession of Judgment (non-
                                                                          Case
                Wrongful Death                                 Insurance Coverage (not provisionally
                                                                                                                              domestic relations)
        Product Liability (not asbestos or                                                                                Sister State Judgmenl
                                                                      complex) (1 8)
            toxic/environmental) (24)                                                                                     Administrative Agency Award
                                                                      Auto Subrogation
        Medical Malpractice (45)                                                                                             (not unpaid taxes)
                                                                      Other Coverage
            Medical Malpractice-                                                                                          Petition/Certification of Entry of
                                                               Other Contract (37)                                           Judgment on Unpaid Taxes
                  Physicians & Surgeons
                                                                      Contractual Fraud                                   Other Enforcement of Judgment
             Other Professional Health Care
                                                                      Other Contract Dispute                                   Case
                 Malpractice
                                                            Real Property                                         Miscellaneous Civil Complaint
        Other PI/PD/WD (23)
                                                                Eminent Domain/Inverse                                RICO (27)
            Premises Liability (e.g., slip
                                                                   Condemnation (14)                                  Other Complaint (not specified
                  and fall)
                                                                Wrongful Eviction (33)                                    above) (42)
             Intentional Bodily Injury/PD/WD
                  (e.g., assault, vandalism)                    Other Real Property (e.g., quiet title) (26)              Declaratory Relief Only
                                                                   Writ of Possession of Real Property                    Injunctive Relief Only (non-
             Intentional Infliction of
                                                                      Mortgage Foreclosure                                     harassment)
                  Emotional Distress
                                                                      Quiet Title                                          Mechanics Lien
             Negligent Infliction of
                 Emotional Distress                                   Other Reai Property (not eminent                     Other Commercial Complaint
                                                                      domain, landiordAenant, or                               Case (non-fort/non-comp/ex)
             Other PI/PD/WD
                                                                   foreclosure)                                            Other Civil Complaint
  Non-PI/PD/WD (Other) Tort                                                                                                   (non-torl/non-complex)
                                                            Unlawful Detainer
         Business Tort/Unfair Business                                                                            Miscellaneous Civil Petition
                                                                Commercial (31)
            Practice (07)
                                                                Residential (32)                                     Partnership and Corporate
         Civil Rights (e.g., discrimination,
                                                                Drugs (38) (if the case involves illegal                  Governance (21)
             false arrest) (not civil
                                                                       drugs, check this item; otherv/ise,            Other Petition (not specified
             harassment) (08)
         Defamation (e.g., slander, libel)                             report as Commercial or Residential)               above) (43)
                                                            Judicial Review                                               Civil Harassment
              (13)
                                                                Asset Forfeiture (05)                                     Workplace Violence
         Fraud (16)                                                                                                        Elder/Dependent Adult
                                                                 Petition Re: Arbitration Award (1 1)
         intellectual Property (19)                                                                                             Abuse
          Professional Negligence (25)                           Writ of Mandate (02)
                                                                       Writ-Administrative Mandamus                        Election Contest
             Legal Malpractice
                                                                       Writ-Mandamus on Limited Court                       Petition for Name Change
             Other Professional Malpractice                                                                                 Petition for Relief From Late
                                                                           Case Matter
                (not medical or legal)                                                                                          Claim
      Other Non-PI/PD/WD Tort (35)
                                                                       Writ-Other Limited Court Case
                                                                                                                            Other Civii Petition
   Employment                                                              Review
          Wrongful Termination (36)                              Other Judicial Review (39)
          Other Employment (15)                                      Review of Health Officer Order
                                                                       Notice of Appeal-Labor
                                                                           Commissioner Appeals                                                             Page 2 o! 2

   CM-010 (Rev July 1,2007)                                      CIVIL CASE COVER SHEET


                                                                                                                                Exh A - pg 20
               Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 19 of 42 Page ID #:24



                                                                                                      CASE NUMBER
                                                                        et al.
SHORT TITLE:   Yu, et al., vs. Regents of The University of California,




                               CIVIL CASE COVER SHEET ADDENDUM AND
                                       STATEMENT OF LOCATION
                                                            COURTHOUSE LOCATION)
                (CERTIFICATE OF GROUNDS FOR ASSIGNMENT TO
                                                                                                                         rCourt.
                                                                   ail new civil case filings in the Los Angeles Superio
               This form is required pursuant to Local Rule 2.3 in




                                                                    Council form CM-010), find the exact case type in
     Step 1 : After completing the Civil Case Cover Sheet (Judicial
                                                                       the Civil Case Cover Sheet.
              Column A that corresponds to the case type indicated in


                                                                    best describes the nature of the case.
     Step 2: In Column B, check the box for the type of action that


                                                                      for the court filing location you have
     Step 3: In Column C, circle the number which explains the reason
                   chosen.
                                                                                                          C)
                                            Applicable Reasons for Choosing Court Filing Location (Column

                                                             e, Central District.       7. Location where petitioner resides.
1. Class actions must be filed in the Stanley Mosk Courthous
                                                                                        8. Location wherein defendant/respondent functions wholly.
2. Permissive filing in central district.
                                                                                        9. Location where one or more of the parties reside.
3. Location where cause of action arose.
                                                                                       10. Location of Labor Commissioner Office.
4. Mandatory personal injury filing in North District.                                                                                               limited
                                                                                       11. Mandatory filing location (Hub Cases - unlawful detainer,
5. Location where performance required or defendant resides.                           non-collection, limited collection, or persona! injury),

6. Location of properly or permanently garaged vehicle.




                                                                                                                                                          c
                                  A                                                                                                            Applicable Reasons -
                                                                                        Type of Action
                      Civil Case Cover Sheet                                                                                                    See Step 3 Above
                                                                                       (Check only one)
                            Category No.

                                                                                                                        Death                  1,4, 11
                              Auto (22)                  A7100 Motor Vehicle - Personal Injury/Property Damage/Wrongful

                                                                                                                            Motorist           1.4, 11
     3    O
                      Uninsured Motorist (46)            A71 1 0 Personal Injury/Property Damage/Wrongful Death - Uninsured
    < v-

                                                                                                                                               1, 11
                                                     O   AB070 Asbestos Property Damage
                            Asbestos (04)                                                                                                      1. 11
                                                         A7221 Asbestos - Personal injury/Wrongful Death
     •f? T!
                                                                                                                                               1.4, 11
                        Product Liability (24)           A7260 Product Liability (not asbestos or toxic/environmental)
     S £
     t 8                                                                                                                                       1,4, 11
                                                         A7210 Medical Malpractice - Physicians & Surgeons
                                                                                                                                               1.4, 11
                      Medical Malpractice (45)
     f1                                                  A7240 Other Professional Health Care Malpractice

      1|                                             O   A7250 Premises Liability (e.g., slip and fail)                                        1,4, 11
      s5                    Other Personal
                                                     O   A7230 intentional Bodily Injury/Property Damage/Wrongful Death
                                                                                                                        (e.g.,                 1.4, 11
      6 I
     -C   (0
                            Injury Property
                          Damage Wrongful
                                                                 assault, vandalism, etc.)
                                                                                                                                               1,4, 11
     *"   Q
     O                         Death (23)                A7270 Intentional infliction of Emotional Distress
                                                                                                                                                1,4, 11
                                                         A7220 Other Personal injury/Property Damage/Wrongful Death




                                                                                                                                          Local Rule 2.3
                                                    CIVIL CASE COVER SHEET ADDENDUM
     LASC CIV 109 Rev. 12/18                                                                                                                    Page 1 of 4
                                                          AND STATEMENT OF LOCATION
                                                                                                                                 Exh A - pg 21
     For Mandatory Use
                  Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 20 of 42 Page ID #:25



                                                                                                          CASE NUMBER
SHORT TITLE;
                  Yu, et al., vs. Regents of The University of California, et al.


                                                                                                                                                 C Applicable
                                 A
                                                                                         Type of Action                                    Reasons - See Step 3
                       Civil Case Cover Sheet
                                                                                      (Check only one)                                           Above
                             Category No.

                                                                                                                    contract)              1,2.3
                         Business Tort (07)               A6029 Other Commercial/Business Tort (not fraud/breach of

                                                                                                                                           1,2,3
                          Civil Rights (08)           H   A6005 Civil Rights/Discrimination


   a     o
                          Defamation (13)                 A6010 Defamation (slander/libel)
                                                                                                                                           1,2,3


    3                                                                                                                                      1,2,3
   "c     ai                 Fraud (16)                   A6013 Fraud (no contract)


    II                                                    A6017 Legal Malpractice
                                                                                                                                           1,2,3

   5*        o>
             re
                    Professional Negligence (25)
                                                          A6050 Other Professional Malpractice (not medical or legal)
                                                                                                                                           1,2,3
   % 6
    o        ra
   Z O                                                                                                                                     1, 2, 3
                              Other (35)              P   A6025 Other Non-Personal Injury/Property Damage tort

                                                                                                                                           1,2, 3
                      Wrongful Termination (36)           A6037 Wrongful Termination
        •s
        a>
        E                                                                                                                                   1,2,3
        >»                                            0   A6024 Other Employment Complaint Case
        "5.            Other Employment (15)                                                                                                10
        E                                                 A6109 Labor Commissioner Appeals
        LU

                                                                                                                       or wrongful
                                                      O   A6004 Breach of Rental/Lease Contract (not uniawfui detainer                      2,5
                                                                eviction)
                                                                                                                                            2,5
                     Breach of Contract/ Warranty                                                                         igence)
                                                          A6008 Contract/Warranty Breach -Seller Plaintiff (no fraud/negl
                                  (06)                                                                                                      1,2,5
                            (not insurance)               A601 9 Negligent Breach of Contract/Warranty (no fraud)
                                                                                                                                            1.2,5
                                                                                                                            )
                                                      0    A6028 Other Breach of Contract/Warranty (not fraud or negligence

                                                                                                                                            5,6, 11
        -s                                                A6002 Collections Case-Seller Plaintiff
         2                  Collections (09)                                                                                                5, 11
                                                           A6012 Other Promissory Note/Collections Case
         ©
                                                                                                                       Debt                 5, 6, 11
        O                                             O    A6034 Collections Case-Purchased Debt (Charged Off Consumer
                                                                   Purchased on or after January 1 , 2014)
                                                                                                                                            1,2, 5,8
                       Insurance Coverage (18)             A601 5 Insurance Coverage (not complex)

                                                                                                                                            1,2, 3,5
                                                           A6009 Contractual Fraud
                                                                                                                                            1,2, 3,5
                          Other Contract (37)         O    A6031 Tortious Interference
                                                                                                                           nce)             1,2,3, 8,9
                                                           A6027 Other Contract Dispute(not breach/lnsurance/fraud/neglige


                        Eminent Domain/Inverse                                                                Number of parcels.            2,6
                                                           A7300 Eminent Domain/Condemnation
                          Condemnation (14)

         £                                                 A6023 Wrongful Eviction Case
                                                                                                                                            2.6
                         Wrongful Eviction (33)
         2
         Q_                                                                                                                                  2,6
                                                           A6018 Mortgage Foreclosure
         "re
          QJ                                                                                                                                 2,6
                        Other Real Properly (26)            A6032 Quiet Title
                                                                                                                            foreclosure)     2,6
                                                            A6060 Other Real Property (not eminent domain, landlord/tenant,

                                                                                                                                             6, 11
                      Unlawful Detainer-Commercial          A6021 Unlawful Detainer-Commercial (not drugs or wrongful eviction)
                                   (31)
             <u

         .E                                                                                                                                  6,11
             re       Uniawfui Detainer-Residential         A6020 Unlawful Detainer-Residentiai(not drugs or wrongful eviction)
             e>                    (321
         a
         "5                Unlawful Detainer-                                                                                                2, 6, 11
                                                            A6G20F Unlawful Detainer-Post-Foreclosure
                          Post-Foreclosure (34)
          JS                                                                                                                                 2,6, 11
          =3
             c
                      Unlawful Detainer-Drugs (38)          A6022 Uniawfui Detainer-Drugs



                                                                                                                                           Local Rule 2.3
                                                      CIVIL CASE COVER SHEET ADDENDUM
                                                                                                                                             Page 2 of 4
    LASC CIV 109 Rev. 12/18
                                                         AND STATEMENT OF LOCATION
    For Mandatory Use
                                                                                                                                    Exh A - pg 22
                  Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 21 of 42 Page ID #:26



                                                                                                             CASE NUMBER
                                            University of California, et ai.
short title: Yu, et al., vs. Regents of The




                                                                                                  B                                        C Applicable
                                 A
                                                                                            Type of Action                         Reasons - See Step 3
                      Civil Case Cover Sheet                                                                                                   Above
                            Category No.                                                   (Check only one)

                                                                                                                                   2, 3,6
                       Asset Forfeiture (05)             A6108 Asset Forfeiture Case

                                                                                                                                   2,5
                     Petition re Arbitration (11)        A6115       Petition to Compel/Confirm/Vacate Arbitration
     5
                                                                                                                                   2,8
                                                         A61 51 Writ - Administrative Mandamus
    o;
                                                                                                                                   2
                        Writ of Mandate (02)             A6152 Writ - Mandamus on Limited Court Case Matter
     .2                                                                                                                            2
     -a
                                                             A6153 Writ- Other Limited Court Case Review

                                                                                                                                   2,8
                     Other Judicial Review (39)              A6150 OtherWrit/Judiciai Review

                                                                                                                                    1,2,8
                   Antitrust/Trade Regulation (03)   O       A6G03 Antitrust/Trade Regulation
      §
                                                                                                                                    1,2,3
     IS               Construction Defect (10)               A6007 Construction Defect

     3                                                                                                                              1,2,8
                     Claims Involving Mass Tort              A6006 Claims Involving Mass Tort
                                (40)
     "EL
      E                                                                                                                             1,2, 8
      o
                      Securities Litigation (28)             A6035 Securities Litigation Case
     o
     *
                              Toxic Tort                                                                                            1.2, 3,8
                                                             A6036 Toxic Tort/Environmental
     .2                  Environmental (30)
     .52
         S                                                                                                                          1,2,5,8
                     Insurance Coverage Claims               A6014 Insurance Coverage/Subrogation (complex case only)
      CL
                       from Complex Case (41)
                                                                                                                                    2, 5,11
                                                     O       A6141     Sister State judgment
                                                                                                                                    2,6
                                                     O       A6160 Abstract of Judgment
    'c ^                                                                                                                            2,9
    a>       <u
                                                     O       A6107 Confession of Judgment (non-domestic relations)
    E        E               Enforcement
                                                                                                                                    2,8
    8 ™                    of Judgment (20)                   A6140 Administrative Agency Award (not unpaid taxes)
    £ *                                                                                                                 Tax            2,8
                                                             A6114 Petition/Certificate for Entry of Judgment on Unpaid
    LLl      o
                                                                                                                                       2,8,9
                                                              A61 12 Other Enforcement of Judgment Case

                                                                                                                                       1,2,8
                               RICO (27)             D        A6033 Racketeering (RICO) Case
             u>
                                                                                                                                       1,2, 8
     11                                                       A6030 Declaratory Relief Only
                                                                                                                                       2.8
                                                              A6040 Injunctive Relief Only (not domestic/harassment)
    If                     Other Complaints
                       (Not Specified Above) (42)             A601 1 Other Commercial Complaint Case (non-tort/non-compl
                                                                                                                         ex)           1,2, 8
     3
                                                                                                                                       1,2, 8
             o                                                A6000 Other Civil Complaint (non-tort/non-complex)

                                                                                                                                       2,8
                        Partnership Corporation               A61 13 Partnership and Corporate Governance Case
                            Governance (21)

                                                                                                                                       2, 3,9
                                                              A6121     Civil Harassment With Damages
                                                                                                                                       2, 3,9
                                                              A6123 Workplace Harassment With Damages
      IS .28                                                                                                                           2.3,9
                                                         D    A6124 Elder/Dependent Adult Abuse Case With Damages
     5?
     s a-
                           Other Petitions (Not
                          Specified Above) (43)                A8190    Election Contest                                               2

      8 ?
                                                               A6110 Petition for Change of Name/Change of Gender                      2,7
     2 O
                                                         O     A6170 Petition for Relief from Late Claim Law                           2, 3, 8

                                                         O     A6100 Other Civil Petition                                               2,9




                                                                                                                                   Local Rule 2.3
                                                     CIVIL CASE COVER SHEET ADDENDUM
                                                                                                                                        Page 3 of 4
    LASC CIV 109 Rev. 12/18
                                                        AND STATEMENT OF LOCATION
    For Mandatory Use
                                                                                                                               Exh A - pg 23
                Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 22 of 42 Page ID #:27



                                                                                            CASE NUMBER
                                         The University of California, et al.
 short title: yu_ et a|., vs. Regents of




                                                                                                      nCforthe
                                               the appropriate boxes for the numbersshown under Colum
Step 4: Statement of Reason and Address: Check                                                           code.
                                                                         which is the basis for the filing location, includingzip
                type of action that you have selected. Enter the address
                {No address required for class action cases),

                                                                          ADDRESS:

                                                                                               Stanley Mosk Courthouse
   REASON:
                                                                                      1 1 1 N, Hill Street, Los Angeles, CA 90012
       1D2.03.O4.D5.O6.Q7.                     8,    9.D10.D11.




                                                STATE:     ZIP CODE:
   CITY:


                                                CA         90012
   Los Angeles

                                                                                                               Central District                  of
                                                         case is properly filed in the
Step 5: Certification of Assignment: I certify that this                                                                  )(E)].
                                                                        Civ. Proc,, §392 et seq., and Local Rule 2.3(a)(1
        the Superior Court of California, County of Los Angeles [Code




                 08/23/2019
   Dated:
                                                                                         (SIGNATURE OF ATTORNEY/FILING PARTY)




                                             AND READY TO BE FILED IN ORDER TO PROPERLY
   PLEASE HAVE THE FOLLOWING ITEMS COMPLETED
   COMMENCE YOUR NEW COURT CASE:

           1.     Original Complaint or Petition.
                                                                              e by the Clerk.
           2.     tf filing a Complaint, a completed Summons form for issuanc
                                                                       .
           3.     Civil Case Cover Sheet, Judicial Council form CM-010
                                                                           n form, LACIV 1 09, LASC Approved 03-04 (Rev.
           4.     Civil Case Cover Sheet Addendum and Statement of Locatio
                  02/16).
                                                                                 for waiver, partial or scheduled payments.
           5.     Payment in full of the filing fee, unless there is court order
                                                                                   l form CIV-010, if the plaintiff or petitioner is a
           6.     A signed order appointing the Guardian ad Litem, Judicial Counci        a summons.
                                                                        in order to issue
                  minor under 18 years of age will be required by Court
                                                                                 Copies of the cover sheet and this addendum
           7.     Additional copies of documents to be conformed by the Clerk. initiating pleading in the case.
                                        with the summo ns and compla int, or other
                  must be served along




                                                                                                                                Local Rule 2.3
                                                    CIVIL CASE COVER SHEET ADDENDUM
                                                                                                                                  Page 4 of 4
     LASC CIV 109 Rev. 12/18                           AND STATEMENT OF LOCATION
     For Mandatory Use
                                                                                                                     Exh A - pg 24
Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 23 of 42 Page ID #:28




                                  VOLUNTARY EFFICIENT LITIGATION STIPULATIONS



                                     The Early Organizational Meeting Stipulation, Discovery

                                  Resolution Stipulation, and Motions in Umlne Stipulation are
      Supper Court of CsSSfomfa
      County ef Los Anjj«lo«
                                  voluntary stipulations entered Into by the parties. The parties
                                  may enter into one, two, or all three of the stipulations;
                                  however, they may not alter the stipulations as written,
            M
                                  because the Court wants to ensure uniformity of application.
  Los Angsfes County
  Bar Association                 These stipulations are meant to encourage cooperation
  UUgalkmSsetlen

      Los Angsts County
                                  between the parties and to assist In resolving Issues in a
  gar Association Leber an $
  gmptoymant Lw Ssctfon           manner that promotes economic case resolution and judicial
                                  efficiency.
              ?f-H3

      ¥       r,> i Hint sa

                                      The    following    organizations     endorse   the   goal   of
  Cawumsr Attorneys
  Association of U>» Angolas
                                  promoting      efficiency In litigation   and ask   that counsel

                                  consider using these stipulations as a voluntary way to

                                  promote communications and procedures among counsel

                      H           and with the court to fairly resolve Issues in their cases.


                                  Los Angeles County Bar Association litigation Section#
  SotAhsmCsltferola
  Dsferua Counsel

                                                 Los Angeles County Bar Association

                                                Labor and Employment Law Section#
          m:
  Association of
  Business Trial Lawyers              Consumer Attorneys Association of Los Angeles#



                        i                   Southern California Defense Counsel#


  i      %»
                                            Association of Business Trial Lawyers#
  Leasts
  Ce8teff?la Employment
  Lawyers Association
                                       California Employment Lawyers Association#


        LACIV 230 (MEW)
        LASC Approved 4*1 1
        For Optional Us«




                                                                                            Exh A - pg 25
Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 24 of 42 Page ID #:29




                                                                                                 R        '• r fes>
to^s^a w^&ssof »noa«iY w?p*mr wttes/f utiuwr




          TEiePHOMSMO.!                            FAX HO. (OfXteftat):
g.MM. AQDRE55 (Option^:
   AHK!!®y FOR ilitmhY,

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
CQURFHOUSS ADDRESS;


TlmntWT

DEFENDANT:


                                                                                         CA5C NUUB6R;

                STIPULATION - DISCOVERY RESOLUTION


     TTils stipulation Is Intended to provide a fast and informal resolution of discovery issues
     through limited paperwork and an Informal conference with the Court to aid In the
     resolution of the issues.

     The parties agree that:

     1. Prior to the discovery cut-off in this action, no discovery motion shall be filed or heard unless
        the moving party first makes a written request for an Informal Discovery Conference pursuant
        to the terms of this stipulation.

     2. At the Informal Discovery Conference the Court will consider the dispute presented by parties
        and determine whether it can be resolved informally. Nothing set forth herein will preclude s
          party from making a record at the conclusion of an informal Discovery Conference, either
          oratly or in writing.

     3.   Following a reasonable and good faith attempt at an informal resolution of each issue to be
          presented, a party may request an Informal Discovery Conference pursuant to the following
          procedures:


               a.         The party requesting the Informal Discovery Conference will:

                     i.      File a Request for Informal Discovery Conference with the clerk's office on the
                             approved form (copy attached) and deliver a courtesy, conformed copy to the
                             assigned department;

                    is.      Include a brief summary of the dispute and spacify the relief requested; and

                ill.         Serve the opposing party pursuant to any authorized or agreed method of service
                             that ensures that the opposing party receives the Request for informal Discovery
                             Conference no later than the next court day following the filing.

               b.         Any Answer to a Request for Informal Discovery Conference must:

                     i.      Also be fifed on the approved form (copy attached);

                    si.      Include a brief summary of why the requested relief should be denied;
     LACIV036 (twsw)
     LA5C                  0Vt1         STIPULATION - DISCOVERY RESOLUTION
     Far OpUofiflJUs*                                                                                                 Pegs t of 3




                                                                                                        Exh A - pg 26
Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 25 of 42 Page ID #:30




  oiwr tuts                                                                   CASst&Asstn




               Hi.    Be filed within two (2) court days of receipt of the Request; and

               iv.    Be served on the opposing party pursuant to any authorized or agreed upon
                      method of service that ensures that the opposing party receives the Answer no
                      later than the next court day following the filing.

        c.    No other pleadings, including but not limited to exhibits, declarations, or attachments, will
              be accepted.

        d.    if the Court has not granted or denied the Request for informal Discovery Conference
              within ten {10) days following the filing of the Request, then it shall be deemed to have
              been denied. If the Court acts on the Request, the parties wili be notified whether the
              Request for Informal Discovery Conference has been granted or denied and, if granted,
              the date and time of the Informal Discovery Conference, which must be within twenty (20)
              days of the filing of the Request for Informal Discovery Conference.

        e.    If the conference is not held within twenty (20) days of the filing of the Request for
              Informal Discovery Conference, unless extended by agreement of the parties and the
              Court, then the Request for the Informal Discovery Conference shall be deemed to have
              been denied at that time.

   4.   If (a) the Court has denied a conference or (b) one of the time deadlines above has expired
        without the Court having acted or (c) the Informal Discovery Conference is concluded without
        resolving the dispute, then a party may file a discovery motion to address unresolved issues.

   5.   The parties hereby further agree that the time for making a motion to compel or other
        discovery motion is tolled from the date of filing of the Request for Informal Discovery
        Conference until (a) the request is denied or deemed denied or (b) twenty (20) days after the
        filing of the Request for Informal Discovery Conference, whichever Is earlier, unless extended
        by Order of the Court.


        ft Is the understanding and Intent of the parties that this stipulation shall, for each discovery
        dispute to which it applies, constitute a writing memorializing a "specific later date to which
        the propounding [or demanding or requesting) party and the responding party have agreed in
        writing," within the meaning of Code Civil Procedure sections 2030.300(c), 2031.320(c), and
        2033.290(c).

  6.    Nothing herein will preclude any party from applying ex parte for appropriate relief, Including
        an order shortening time for a motion to be heard concerning discovery.

  7. Any party may terminate this stipulation by giving twenty-one (21) days notice of intent to
        terminate the stipulation.

  8. References to "days" mean calendar days, unless otherwise noted. If the date for performing
     any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the lime
        for performing that act shall be extended to the next Court day.




  LAC1V03G (now)
  LASC            04/1 1        STIPULATION - DISCOVERY RESOLUTION
  For Optional Usa                                                                                Payors




                                                                                            Exh A - pg 27
Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 26 of 42 Page ID #:31




                                                                       CrtMWUMMW
  n-soai inu;




  The following parties stipulate:

   Dale:
                                                        >
                    (TYPE OH PRINT                                   "WTOfiNHY FOR PVAJNTIFF)
   Data:
                                                        >
                    (TVPEORPHIWTNA.se?                               (ATTQRNEY FOR Q=F£?tf>ANT)
   Dale:
                                                        >
                    (7 ype OH PRW HAMS?                              {ATTORNEY FOR DSFCHPANT)

   Date:
                                                        >
                    (TYPE OR PRINT NWS)                              iArrQRN£YfcwoeF»iDAwt)
   Date:
                                                        >
                    {TrFE OH PRINT MAA®)                     {AtTORNerfOR

   Dais:
                                                        >
                    (TYPE OR PRINT NAME)                     (ATTORNEY FOR.

   Date:
                                                        >
                    (TYPE OR PRINT NAME)                     (ATTORNEY FOR „                           J




   LACJV 038 (new)
   LASCApfsrowxJfWtt                 STIPULATION - DISCOVERY RESOLUTION
   ForOpDoiwI Use                                                                                 P;*g« 3 of 3




                                                                                         Exh A - pg 28
Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 27 of 42 Page ID #:32




    M3 ATOM U CP iYlOSXt V fcfi PAR TY »M J IWII A *1 OStK *                 »UK01MMIUS(H         f         Sjre?




              TElEPKONENO.!                                    FAX NO. (Opltonrf):
 E-MfMU AGOBESS {Optkwwty


SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADDRESS:                                      '         '

BtAst«rnPFi


DEP£K8WT:


                                                                                            ss?TOC5®r
           STIPULATION - EARLY ORGANIZATIONAL MEETING


      This stipulation Is Intended to encourage cooperation among the parties at an early stage In
      the litigation and to assist the parties In efficient case resolution.

      The parties agree that:

      1. The parties commit to conduct an initial conference (in-person or via teleconference or via
         vldeoconference) within 15 days from the date this stipulation is signed, to discuss and consider
         whether there can be agreement on the following:

              a.   Are motions to challenge the pleadings necessary? If Ihe issue can be resolved by
                   amendment as of right, or if the Court would allow leave to amend, could an amended
                   complaint resolve most or ail of the Issues a demurrer might otherwise raise? If so, the parties
                   agree to work through pleading Issues so that a demurrer need only raise issues they cannot
                   resolve, is the Issue that the defendant seeks to raise amenable to resolution on demurrer, or
                   would some other type of motion be preferable? Could a volunlary targeted exchange of
                   documents or Information by any party cure an uncertainty in the pleadings?

              b.   Initial mutual exchanges of documents at the "core" of the litigation. (For example, In an
                   employment case, the employment records, personnel file and documents relating to the
                   conduct In question could be considered "core." In a personal Injury case, an Incident or
                   police report, medical records, and repair or maintenance records could be considered
                   'core.*);

              c.   Exchange of names and contact Information of witnesses;

              d.   Any Insurance agreement that may be available to satisfy part or all of 3 judgment, or to
                   Indemnify or reimburse for payments made to satisfy a judgment;

              e.   Exchange of any other Information that might be helpful to facilitate understanding, handling,
                   or resolution of the case in a manner that preserves objections or privileges by agreement;

              f.   Controlling Issues of law that, if resolved early, will promote efficiency and economy In other
                   phases of the case. Also, when and how such issues can be presented to the Court;

              g. Whether or when the case should be scheduled with a settlement officer, what discovery or
                 court ruling on legal issues Is reasonably required to make settlement discussions meaningful,
                 and whether the parties wish to use a sitting judge or a private mediator or other options as

     LACIV 22s (Rev 02/15}
     lasc Approved $41) i                  STIPULATION - EARLY ORGANIZATIONAL MEETING
     PcrOfrtNjiiBitJso                                                                                      Page 1 of 2




                                                                                                        Exh A - pg 29
Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 28 of 42 Page ID #:33




  feest tnie                                                                      CASE !!UU3l<\




               discussed lr> the "Alternative Dispute Resolution (ADR) Information Package" served with the
               complaint;

        h. Computation of damages, Including documents, not privileged or protected from disclosure, on
               which such computation Is based;

        I,     Whether the case Is suitable for the Expedited Jury Trial procedures (see Information at
               mtewJacourtora under "CtviT and than under 'Genera! Information').

   2.          The time for a defending party to respond to a complaint or cross-complaint will be extended
               ...
               to                           for the complaint, and                                for the cross-
                          (<M5£RT DATE)                                     {INSERT DATE)
               complaint, which Is comprised of the 30 days to respond under Government Code § 68616(b),
               and the 30 days permitted by Code of Civil Procedure section 1054(a), good cause having
               been found by the Civil Supervising Judge due to the case management benefits provided by
               this Stipulation. A copy of the General Order can be found at wwwJaaaurt.orQ under "CMP,
               click on "Genera} Information*, then click on "Voluntary Efficient Litigation Stipulations*.

   3.          The parties will prepare a joint report tilted "Joint Status Report Pursuant to Initial Conference
               and Early Organizational Meeting Stipulation, and if desired, a proposed order summarizing
               results of their meet and confer and advising the Court of any way it may assist the parties'
               efficient conduct or resolution of the case. The parties shall attach the Joint Status Report to
               the Case Management Conference statement, and file the documents when the CMC
               statement is due.

   4.          References to "days" mean calendar days, unless otherwise noted, If the date for performing
               any act pursuant to this stipulation falls on a Saturday, Sunday or Court holiday, then the time
               for performing that act shall be extended to the next Court day

  The following parties stipulate:

  Dais:
                                                                 >
                     (TYPE OR PRINT NAME)
  Dale:

                                                                 >
                                                                            (ATTORNEY FOR DEFENDANT)
  Dale:
                                                                 >

                     (TYPE OR PRINT NAME)
  Dale;
                                                                 >


                     (TYPE OR PRINT NAME)

  Dale:
                                                                 >
                     (TYPE OR PRINT NAME)                              (ATTORNEY FOR                         )
  Dale:


                     (TYPE OR PRINT NAME)                                                                    J
   Dale:
                                                                 r


                     (TYPE OR PRINT NAME)




  uscSSSm1                     STIPULATION - EARLY ORGANIZATIONAL MEETING                                PsqbSoIS




                                                                                                  Exh A - pg 30
Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 29 of 42 Page ID #:34




                                                                                                                                      ,ia ''
maue ffts u&Kiz of ati rsssi r w, fas rr mil bju i ati es«i."Y




        TELgpiiONg NO.-                                          FAX NO (O/Alwvsl):
 E-MMkADORSSS IDfJ&BftflJj:
     ATTORNEY FOR jNanxfr

SUPERIOR COURT OF CALIFORNIA, COUNTYOF LOS ANGELES
dOtlfirwduSE ADDRESS:

PUUNTIFF;



DEFENDANT.

                                                                                                              CASSMLtUSm

                            INFORMAL DISCOVERY CONFERENCE
                  (pursuant to the Discovery Resolution Stipulation of tig parties}

        1. This document relates to;
                                  Request for Informal Discovery Conference
                                  Answer to Request for informal Discovery Conference
        2.     Deadline for Court to decide on Request'.                                           {Insert dais 10 calendar days (oUowirVG fiSflfl of
               ito Requosf}                              *
                                                                                                                           iimsrt dale 20 calendar
        3.     Deadline for Court to hold Informal Discovery Conference:
               days foOowVvg fling of tba Reqiie$f),

                                                                                                     tba
        4.     For a Request for Informal Discovery Conference, briefly describe iba nature of
                                  including  the facts and  legal arguments at Issue.   For an Answer to
               discovery dispute,
                                                                                                   deny
               Request for Informal Discovery Conference, briefly describe why the Court should
               the requested discovery, Including the facts and legal arguments at Issue.




          LACIV 0W (new)                                   INFORMAL DISCOVERY CONFERENCE
         LASC Approved 04b 1
         PcM-OptesulUM                           (pursuant to the Discovery Resolution Stipulation o( the parties)




                                                                                                                              Exh A - pg 31
Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 30 of 42 Page ID #:35




                                                                          tUlmiMS      !» 6MS-ta» fe# CSs4| » Rs
toys tm namtas e? a n cw*1y on p a» it w i i «xjt art w«£Y




             TELEPHONE NO.:                                  FAX NO tOpJSorai):
 E4SAJL ASQft&SS {OpUwul}:
    ATTOW6T pm Warns}:

SUPERIOR COURT OF CALIFORNIA, COUNTY OF LOS ANGELES
COURTHOUSE ADCRE&S:

plaintiff;


DEFENDANT;




                STIPULATION AND ORDER - MOTIONS IN LIMINE



       This stipulation fs intended to provide fast and informal resolution of evidentiary
       issues through diligent efforts to define and discuss such issues and limit paperwork.


       The parties agree that:

        1. At least       days before the final status conference, each party will provide all other
           parties with a list containing a one paragraph explanation of each proposed motion In
           limine. Each one paragraph explanation must identify the substance of a single proposed
           motion in limine and the grounds for the proposed motion.

       2, The parties thereafter will meet and confer, either in person or via teleconference or
          videoconference, concerning ail proposed moiions in limine, in that meet and confer, iha
          parties will determine:

              a. Whether the parties can stipulate to any of the proposed motions, if the parties so
                 stipulate, they may file a stipulation and proposed order with the Court.

              b. Whether any of the proposed motions can be briefed and submitted by means of a
                 short joint statement of issues. For each motion which can be addressed by a short
                 joint statement of issues, a short joint statement of issues must be filed with the Court
                 10 days prior to the final status conference. Each side's portion of the short joint
                 statement of Issues may not exceed three pages. The parties will meet and confer to
                 agree on a date and manner for exchanging the parties' respective portions of the
                 short Joint statement of issues and the process for filing the short joint statement of
                 issues.

       3. All proposed motions in limine that are not either the subject of a stipulation or briefed via
          a short joint statement of Issues will be briefed and filed in accordance with the California
          Rules of Court and the Los Angeles Superior Court Rules.




       MC/V07S<ww)
       USCA^tivovI 04/11                   STIPULATION AND ORDER - MOTIONS IN LIMINE
       FcrOpUorolto                                                                                                Pflfle 1 of 2




                                                                                               Exh A - pg 32
Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 31 of 42 Page ID #:36




                                                                  CAM KtUSKil
         mis




   The following parties stipulate:

   Date:


                                                              (ATTORNEY FOR PLAINTIFF)
   Dale:
                                                    >


   Date:
                                                    >
                  (TYPE OR PRINT NAME)
   Date:


                   (TYPE OR PRINT NAME)                      {ATTORNEY FOR DEFENDANT)

   Dale:
                                                    >

                                                        {ATTORNEY FOR                          J
   Date:
                                                    >

                   (TYPE OR PRINT NAME)                                                        )
   Date:
                                                    >

                                                         (ATTORNEY FOR                         J



   THE COURT SO ORDERS.

     Date:
                                                                   JUDICIAL OFFICER




  ' iAClV 0"/5(iTev/)' " ~
   LASCApptoVftd 04(18
                             STIPULATION AND ORDER ~ MOTIONS SH LIMINE                   Pmwa fit;!




                                                                                Exh A - pg 33
     Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 32 of 42 Page ID #:37




                          Superior Court of California, County of Los Angeles



                                                 INFORMATION PACKAGE

 THE PLAINTIFF MUST SERVE THIS ADR INFORMATION PACKAGE ON EACH PARTY WITH THE COMPLAINT.

  CROSS-COMPLAINANTS must serve this ADR Information Package on any new parties named to the action
 with the cross-complaint



What Is ADR?
ADR helps people find solutions to their legal disputes without going to trial. The main types of ADR are negotiation,
mediation, arbitration and settlement conferences. When ADR Is done by phone or computer, It may be called Online
Dispute Resolution (ODR). These "alternatives" to litigation and trial are described below.


Advantages of ADR
     e     Saves Time: ADR Is faster than going to trial.
     »     Saves Money: Parties can save on court costs, attorney's fees and witness fees.
     •     Keeps Control with the parties: Parties choose their ADR process and provider for voluntary ADR.
     •     Reduces stress/protects privacy: ADR is done outside the courtroom, In private offices, by phone or online.


Disadvantages of ADR
     •     Costs: If the parties do not resolve their dispute, they may have to pay for ADR and litigation and trial.
     «     No Public Trial: ADR does not provide a public trial or a decision by a judge or jury.


Main Types of ADR:

     1.    Negotiation: Parties often talk with each other In person, or by phone or online about resolving their case with a
           settlement agreement instead of a trial. If the parties have lawyers, they will negotiate for their clients.

     2.    Mediation: in mediation, a neutral "mediator" listens to each person's concerns, helps them evaluate the
           strengths and weaknesses of their case, and works with them to try to create a settlement agreement that is
           acceptable to all. Mediators do not decide the outcome. Parties may go to trial if they decide not to settle.


                      Mediation may be appropriate when the parties
                            a    want to work out a solution but need help from a neutral person.
                            »     have communication problems or strong emotions that Interfere with resolution.
                      Mediation may not be appropriate when the parties
                            •    want a public trial and want a judge or jury to decide the outcome.
                            8     lack equal bargaining power or have a history of physical/emotional abuse.

                                                                                                                        IASC1
IASC QV 271 HEW 03/19
For Mandatory Use
California Holes of Court, rule 3 HI




                                                                                                           Exh A - pg 34
      Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 33 of 42 Page ID #:38




                                                  How to arrange mediation In Los Angeles County
     Mediation for dvll cases Is voluntary and parties mBy select any mediator they wish. Options Include:

                 a.   The Civil Mediation Vendor Resource list
                           Parties may contact these organizations to request a "Resource List Mediation" for reduced-cost or
                                     free (for selected cases) mediation In person or with ODR (by phone or online).

                       •    JAMS, Inc.: Case Manager (213) 253*9776 mdawsonffHamsadr.com
                       «     Mediation Center of Los Angeles: Case Manager: (833) 476-9145 lnfo@medlationtA.orR


                 These organizations cannot accept every case and they may decline cases at their discretion.
                      Visit www.lac0urt.0m/ADR.Re5.tlst for Important Information and FAQs before contacting them.
                      NOTE: This service Is not available for family law, probate or small claims.


                 b.    Los Angeles County Dispute Resolution Programs
                      https://wdac5.lacountv.gov/prograrn5/dro/
                             «     Free, day- of- trial mediations at the courthouse for small claims, unlawful detainers (evictions)
                                   and, at the Stanley Mosk Courthouse, limited civil. No appointment needed.
                             *     Free or (ow-cost mediations before the day of trial for these and other rase types.
                             *     For ODR by phone or computer for small claims or unlawful detainer (eviction) rases before the
                                   day of trial, visit
                                   http://www.lacourt.orc/dlvlsion/smallclalms/pdf/OnllneDlsputeResolutIonFlver-EneSDan.pdf


                 c.    Mediators and ADR and Bar organizations that provide mediation may be found on the internet.




      3.    Arbitration: Arbitration is less formal than trial, but like trial, the parties present evidence and arguments to the
            person who decides the outcome. In "binding" arbitration, the arbitrator's decision Is final; there Is no right to
            trial. In "nonblnding" arbitration, any party can request a trial after the arbitrator's decision. For more
            Information about arbitration, visit http://www.courts.ca.gov/programs-adr.htm


      4.    Mandatory Settlement Conferences (MSC): MSCs are ordered by the Court and are often held close to the trial
            date. The parties and their attorneys meet with a judge or settlement officer who does not make a decision but
            assists the parties In evaluating the strengths and weaknesses of the case and In negotiating a settlement.
            For information about the Court's MSC programs for civil cases, visit: www.lacourt.org/divislon/civil/settlement




Los Angeles Superior Court ADR website: www.iacoiJ rt.org/divisian/ciuil/settlement
For general information and videos about ADR, visit http://www.courts.ca.gov/programs-adr.htm




                                                                                                                                 LASC2
use CIV 271 NEW 03/19
For Mandatory Use
California flutes of Court, rule 3,221




                                                                                                                Exh A - pg 35
     Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 34 of 42 Page ID #:39

                                                                                                      2Q19-GEN-014-00


                                                                                        FILED
                                                                                Superior Court of California
                                                                                  County of Los Angeles
1

                                                                                       MAY 03 2019
2
                                                                            Sherri fLCarter, Executive Officer/Clerk
3                                                                                                             Deputy
                                                                                                         «)

                                                                                   <$fezaIindaMina
4

5
                             SUPERIOR COURT OF THE STATE OF CALIFORNIA
6
                                     FOR THE COUNTY OF LOS ANGELES
7

8    IN RE LOS ANGELES SUPERIOR COURT )                   FIRST AMENDED GENERAL ORDER
     - MANDATORY ELECTRONIC FILING                    )
9    FOR CIVIL                                        )
                                                      )
10                                                    )

11

12             On December 3, 2018, the Los Angeles County Superior Court mandated electronic filing of all

13   documents in Limited Civil cases by litigants represented by attorneys. On January 2, 2019, the Los

14   Angeles County Superior Court mandated electronic filing of all documents filed in Non-Complex

15   Unlimited Civil cases by litigants represented by attorneys. (California Rules of Court, rule 2.253(b).)

16   All electronically filed documents in Limited and Non-Complex Unlimited cases are subject to the

17   following:

18   1)   DEFINITIONS

19        a)   "Bookmark" A bookmark is a PDF document navigational tool that allows the reader to

20             quickly locate and navigate to a designated point of interest within a document.

21        b) "Efiling Portal" The official court website includes a webpage, referred to as the efiling

22             portal, that gives litigants access to the approved Electronic Filing Service Providers.

23        c) Electronic Envelope" A transaction through the electronic service provider for submission

24             of documents to the Court for processing which may contain one or more PDF documents

25             attached.

26        d) "Electronic Filing" Electronic Filing (eFiling) is the electronic transmission to a Court of a

27             document in electronic form. (California Rules of Court, rule 2.250(b)(7).)

28



                           FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                              Exh A - pg 36
     Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 35 of 42 Page ID #:40

                                                                                                  2019-GEN-014-00




i      e) Electronic Filing Service Provider" An Electronic Filing Service Provider (EFSP) is a

2            person or entity that receives an electronic Filing from a party for retransmission to the Court.

3            In the submission of filings, the EFSP does so on behalf of the electronic Filer and not as an

4            agent of the Court. (California Rules of Court, rule 2.250(b)(8).)

5      f)    Electronic Signature" For purposes of these local rules and in conformity with Code of

6            Civil Procedure section 17, subdivision (b)(3), section 34, and section 1010.6, subdivision

7            (b)(2), Government Code section 68150, subdivision (g), and California Rules of Court, rule

 8           2.257, the term "Electronic Signature" is generally defined as an electronic sound, symbol, or

9            process attached to or logically associated with an electronic record and executed or adopted

10           by a person with the intent to sign the electronic record.

11     g) "Hyperlink" An electronic link providing direct access from one distinctively marked place

12           in a hypertext or hypermedia document to another in the same or different document.

13     h) "Portable Document Format" A digital document format that preserves all fonts,

14           formatting, colors and graphics of the original source document, regardless of the application

15           platform used.

16   2) MANDATORY ELECTRONIC FILING

17     a)    Trial Court Records

18           Pursuant to Government Code section 68150, trial court records may be created, maintained,

19           and preserved in electronic format. Any document that the Court receives electronically must

20           be clerically processed and must satisfy all legal Filing requirements in order to be filed as an

21           official court record (California Rules of Court, rules 2. 1 00, et seq. and 2.253(b)(6)).

22     b) Represented Litigants

23            Pursuant to California Rules of Court, rule 2.253(b), represented litigants are required to

24            electronically file documents with the Court through an approved EFSP.

25      c)    Public Notice

26            The Court has issued a Public Notice with effective dates the Court required parties to

27            electronically file documents through one or more approved EFSPs. Public Notices containing

28            effective dates and the list of EFSPs are available on the Court's website, at www.lacourt.org.

                                                               2
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                           Exh A - pg 37
     Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 36 of 42 Page ID #:41

                                                                                                 20I9-GEN-014-00




1         d) Documents in Related Cases

2            Documents in related cases must be electronically filed in the eFiling portal for that case type if

3            electronic filing has been implemented in that case type, regardless of whether the case has

4            been related to a Civil case.

5    3) EXEMPT LITIGANTS

6         a) Pursuant to California Rules of Court, rule 2.253(b)(2), self-represented litigants are exempt

7            from mandatory electronic filing requirements.

8         b) Pursuant to Code of Civil Procedure section 1010.6, subdivision (d)(3) and California Rules of

9            Court, rule 2.253(b)(4), any party may make application to the Court requesting to be excused

10            from filing documents electronically and be permitted to file documents by conventional

11            means if the party shows undue hardship or significant prejudice.

12   4) EXEMPT FILINGS

13        a) The following documents shall not be filed electronically:

14            i)     Peremptory Challenges or Challenges for Cause of a Judicial Officer pursuant to Code of

15                   Civil Procedure sections 170.6 or 170.3;

16            ii)    Bonds/Undertaking documents;

17            iii)   Trial and Evidentiary Hearing Exhibits

18            iv)    Any ex parte application that is filed concurrently with a new complaint including those

19                   that will be handled by a Writs and Receivers department in the Mosk courthouse; and

20            v)     Documents submitted conditionally under seal. The actual motion or application shall be

21                   electronically filed. A courtesy copy of the electronically filed motion or application to

22                   submit documents conditionally under seal must be provided with the documents

23                   submitted conditionally under seal.

24        b) Lodgments

25            Documents attached to a Notice of Lodgment shall be lodged and/or served conventionally in

26   paper form. The actual document entitled, "Notice of Lodgment," shall be filed electronically.

27   //

28   it

                                                          x
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                           Exh A - pg 38
      Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 37 of 42 Page ID #:42

                                                                                                2019-GEN-QI4-00




1    5) ELECTRONIC FILING SYSTEM WORKING PROCEDURES

2      Electronic filing service providers must obtain and manage registration information for persons

3      and entities electronically filing with the court.

4    6) TECHNICAL REQUIREMENTS

5      a) Electronic documents must be electronically filed in PDF, text searchable format when

6            technologically feasible without impairment of the document's image,

7      b) The table of contents for any filing must be bookmarked.

8      c)    Electronic documents, including but not limited to, declarations, proofs of service, and

9            exhibits, must be bookmarked within the document pursuant to California Rules of Court, rule

10           3. 1 1 10(f)(4). Electronic bookmarks must include links to the first page of each bookmarked

U            item (e.g. exhibits, declarations, deposition excerpts) and with bookmark titles that identify the

12           bookedmarked item and briefly describe the item.

13      d) Attachments to primary documents must be bookmarked. Examples include, but are not

14           limited to, the following:

15           i)     Depositions;

16           ii)    Declarations;

17           iii)   Exhibits (including exhibits to declarations);

18           iv)    Transcripts (including excerpts within transcripts);

19           v)     Points and Authorities;

20           vi)    Citations; and

21           vii)   Supporting Briefs.

22      e)   Use of hyperlinks within documents (including attachments and exhibits) is strongly

23           encouraged.

24      f)   Accompanying Documents

25           Each document acompanying a single pleading must be electronically filed as a separate

26            digital PDF document.

27      g) Multiple Documents

28            Multiple documents relating to one case can be uploaded in one envelope transaction.

                                                          4
                         FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
                                                                                         Exh A - pg 39
     Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 38 of 42 Page ID #:43

                                                                                                   2019-GEN-OI4-00




1      h) Writs and Abstracts

2            Writs and Abstracts must be submitted as a separate electronic envelope.

3      i)    Sealed Documents

4            If and when a judicial officer orders documents to be filed under seal, those documents must be

5            filed electronically (unless exempted under paragraph 4); the burden of accurately designating

6            the documents as sealed at the time of electronic submission is the submitting party's

7            responsibility,

8      j)    Redaction

9            Pursuant to California Rules of Court, rule 1.201, it is the submitting party's responsibility to

10           redact confidential information (such as using initials for names of minors, using the last four

11           digits of a social security number, and using the year for date of birth) so that the information

12           shall not be publicly displayed.

13   7) ELECTRONIC FILING SCHEDULE

14     a)    Filed Date

15           i)   Any document received electronically by the court between 12:00 am and 11:59:59 pm

16                shall be deemed to have been effectively filed on that court day if accepted for filing. Any

17                document received electronically on a non-court day, is deemed to have been effectively

18                filed on the next court day if accepted.   (California Rules of Court, rule 2.253(b)(6); Code

19                Civ. Proc. § 1010.6(b)(3).)

20           ii) Notwithstanding any other provision of this order, if a digital document is not filed in due

21                course because of: (1) an interruption in service; (2) a transmission error that is not the

22                fault of the transmitter; or (3) a processing failure that occurs after receipt, the Court may

23                order, either on its own motion or by noticed motion submitted with a declaration for Court

24                consideration, that the document be deemed filed and/or that the document's filing date

25                conform to the attempted transmission date.

26   8) EX PARTE APPLICATIONS

27      a)    Ex parte applications and all documents in support thereof must be electronically filed no later

28            than 10:00 a.m. the court day before the ex parte hearing.

                                                           5

                                                                                           Exh A - pg 40
                          FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
      Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 39 of 42 Page ID #:44

                                                                                             2019-GEN-014-00




1      b) Any written opposition to an ex parte application must be electronically filed by 8;30 a.m. the

2         day of the ex parte hearing. A printed courtesy copy of any opposition to an ex parte

3          application must be provided to the court the day of the ex parte hearing.

4    9) PRINTED COURTESY COPES

5      a) For any filing electronically filed two or fewer days before the hearing, a courtesy copy must

6          be delivered to the courtroom by 4:30 p.m. the same business day the document is efiled. If

7          the efiling is submitted after 4:30 p.m., the courtesy copy must be delivered to the courtroom

8          by 10:00 a.m. the next business day.

9      b) Regardless of the time of electronic filing, a printed courtesy copy (along with proof of

10         electronic submission) is required for the following documents:

11         i)    Any printed document required pursuant to a Standing or General Order;

12         ii)   Pleadings and motions (including attachments such as declarations and exhibits) of 26

13               pages or more;


14        iii)   Pleadings and motions that include points and authorities;

15        iv)    Demurrers;

16         v)    Anti-SLAPP filings, pursuant to Code of Civil Procedure section 425.16;

17        vi)    Motions for Summary Judgment/Adjudication; and

18        vii)   Motions to Compel Further Discovery.

19      c) Nothing in this General Order precludes a Judicial Officer from requesting a courtesy copy of

20         additional documents. Courtroom specific courtesy copy guidelines can be found at

21          www.lacourt.org on the Civil webpage under "Courtroom Information."

22   1 0) WAIVER OF FEES AND COSTS FOR ELECTRONICALLY FEED DOCUMENTS


23      a) Fees and costs associated with electronic filing must be waived for any litigant who has

24          received a fee waiver. (California Rules of Court, rules 2.253(b)(), 2.258(b), Code Civ. Proc. §

25          1010.6(d)(2).)

26      b) Fee waiver applications for waiver of court fees and costs pursuant to Code of Civil Procedure

27          section 1010.6, subdivision (b)(6), and California Rules of Court, rule 2.252(f), may be

28          electronically filed in any authorized action or proceeding.

                                                       6

                                                                                        Exh A - pg 41
                      FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
      Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 40 of 42 Page ID #:45

                                                                                               2G19-GEN-014-00




1    1) SIGNATURES ON ELECTRONIC FILING

2       For purposes of this General Order, all electronic Filings must be in compliance with California

3       Rules of Court, rule 2.257. This General Order applies to documents Filed within the Civil

4       Division of the Los Angeles County Superior Court.

5

6           This First Amended General Order supersedes any previous order related to electronic filing,

7    and is effective immediately, and is to remain in effect until otherwise ordered by the Civil

8    Supervising Judge and/or Presiding Judge.
                                                                                                     <




9

10   DATED: May 3, 2019                                          /R/
                                                          KEVIN C. BRAZELE
11                                                        Presiding Judge
                                                   &
12

13                                           %


14

15

16

17

18

19

20

21

22

23

24

25

26

27

28

                                                         7

                                                                                        Exh A - pg 42
                        FIRST AMENDED GENERAL ORDER RE MANDATORY ELECTRONIC FILING FOR CIVIL
          Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 41 of 42 Page ID #:46

                                                                                                   Reserved for Clerk's File Stamp
                 SUPERIOR COURT OF CALIFORNIA
                          COUNTY OF LOS ANGELES
 COURTHOUSE ADDRESS:                                                                                         FILED
Stanley Mosk Courthouse                                                                           Supertar Court of California
                                                                                                    Courrtyof LosAngates
 111 North Hill Street, Los Angeles, CA 90012
                                                                                                        08/23/2019
                                                                                         Sri'.-Ti 'Pi Caltr, LAOfti've G^cxr I CerS. d Gaul
                  NOTICE OF CASE ASSIGNMENT
                                                                                           By.           Marita P.Barel
                          UNLIMITED CIVIL CASE


                                                                                   CASE NUMBER:


 Your case is assigned for all purposes to the judicial officer indicated below.   1 9STCV29927


                           THIS FORM IS TO BE SERVED WITH THE SUMMONS AND COMPLAINT

               ASSIGNED JUDGE               DEPT     ROOM                    ASSIGNED JUDGE                         DEPT             ROOM

        Patricia D. Nieto                  24




    Given to the Piaintiff/Cross-Compiainant/Attomey of Record   Sherri R. Carter, Executive Officer / Clerk of Court

    on 08/26/2019                                                         By Marita P. Barel                                         , Deputy Clerk
                 (Date)

                            NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
                                                                                                               Exh A - pg 43
LAC1V190 (Rev 6/18)
LASC Approved 05/06
           Case 2:19-cv-09749 Document 1-1 Filed 11/13/19 Page 42 of 42 Page ID #:47


                                    INSTRUCTIONS FOR HANDLING UNLIMITED CIVIL CASES


The following critical provisions of the California Rules of Court, Title 3, Division 7, as applicable in the Superior Court, are summarized
for your assistance.

APPLICATION
The Division 7 Rules were effective January 1, 2007. They apply to all general civil cases.

PRIORITY OVER OTHER RULES
The Division 7 Rules shall have priority over all other Local Rules to the extent the others are inconsistent.

CHALLENGE TO ASSIGNED JUDGE
A challenge under Code of Civil Procedure Section 170.6 must be made within 15 days after notice of assignment for all purposes
to a judge, or if a party has not yet appeared, within 15 days of the first appearance.

TIME STANDARDS
Cases assigped to the Independent Calendaring Courts will be subject to processing under the following time standards:

COMPLAINTS
All complaints shall be served within 60 days of filing and proof of service shall be filed within 90 days.


CROSS-COMPLAINTS
Without leave of court first being obtained, no cross-complaint may be filed by any party after their answer is filed.          Cross-
complaints shall be served within 30 days of the filing date and a proof of service filed within 60 days of the filing date.

STATUS CONFERENCE
A status conference will be scheduled by the assigned Independent Calendar Judge no later than 270 days after the filing of the
complaint. Counsel must be fully prepared to discuss the following issues: alternative dispute resolution, bifurcation, settlement,
trial date, and expert witnesses.

FINAL STATUS CONFERENCE
The Court will require the parties to attend a final status conference not more than 10 days before the scheduled trial date. All
parties shall have motions in limine, bifurcation motions, statements of major evidentiary issues, dispositive motions, requested
form jury instructions, special jury instructions, and special jury verdicts timely filed and served prior to the conference. These
matters may be heard and resolved at this conference. At least five days before this conference, counsel must also have exchanged
lists of exhibits and witnesses, and have submitted to the court a brief statement of the case to be read to the jury panel as required
by Chapter Three of the Los Angeles Superior Court Rules.

SANCTIONS
The court will impose appropriate sanctions for the failure or refusal to comply with Chapter Three Rules, orders made by the
Court, and time standards or deadlines established by the Court or by the Chapter Three Rules. Such sanctions may be on a party,
or if appropriate, on counsel for a party.

This is not a complete delineation of the Division 7 or Chapter Three Rules, and adherence only to the above provisions is
therefore not a guarantee against the imposition of sanctions under Trial Court Delay Reduction. Careful reading and
compliance with the actual Chapter Rules is imperative.

Class Actions
Pursuant to Local Rule 2.3, all class actions shall be filed at the Stanley Mosk Courthouse and are randomly assigned to a complex
judge at the designated complex courthouse.      If the case is found not to be a class action it will be returned to an Independent
Calendar Courtroom for all purposes.

^Provisionally Complex Cases
Cases filed as provisionally complex are initially assigned to the Supervising Judge of complex litigation for determination of
complex status.    If the case is deemed to be complex within the meaning of California Rules of Court 3.400 et seq., it will be
randomly assigned to a complex judge at the designated complex courthouse.    If the case is found not to be complex, it will be
returned to an Independent Calendar Courtroom for all purposes.




                              NOTICE OF CASE ASSIGNMENT - UNLIMITED CIVIL CASE
                                                                                                                 Exh A - pg 44
LAC IV 190 (Rev 6/18)
LASC Approved 05/06
